   Case 22-19361-MBK               Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                         Desc Main
                                          Document    Page 1 of 802



         UNITED STATES BANKRUPTCY COURT
         DISTRICT OF NEW JERSEY
         Caption in Compliance with D.N.J. LBR 9004-1(b)                                   Order Filed on January 18, 2024
                                                                                           by Clerk
         In re:                                                                            U.S. Bankruptcy Court
                                                                                           District of New Jersey
                                                                         Chapter 11
         BLOCKFI INC., et al.,
                                                                         Case No. 22-19361 (MBK)
                                    Debtors. 1
                                                                         Hearing Date: January 11, 2023 @ 11:30 a.m.
                                                                         ET
                                                                         (Jointly Administered under a Confirmed Plan2)

             ORDER GRANTING WIND-DOWN DEBTORS’ TWELFTH OMNIBUS
             OBJECTION TO CLAIMS FILED AGAINST BLOCKFI WALLET LLC


                  The relief set forth on the following pages, numbered two (2) through five (5) and Schedule

     1 is ORDERED.




DATED: January 18, 2024




     1
       The Debtors in these Chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, are: BlockFi Inc. (0015); BlockFi Trading LLC. (2487); BlockFi Lending LLC (5017); BlockFi Wallet LLC
     (3231); BlockFi Ventures LLC (9937); BlockFi International Ltd. (N/A); BlockFi Investment Products LLC (2422);
     BlockFi Services, Inc. (5965) and BlockFi Lending II LLC (0154). The location of the Wind-Down Debtors’ service
     address is c/o M3 Partners, 1700 Broadway, 19th Floor, New York, NY 10019.
     2
       On October 3, 2023, the Court entered an order confirming the Third Amended Joint Chapter 11 Plan of BlockFi
     Inc. and its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code (Additional Technical Modifications)
     (the “Plan”) [Docket No. 1609].


                                                              1
Case 22-19361-MBK              Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                            Desc Main
                                      Document    Page 2 of 802
 (Page 2)
 Debtors:                     BLOCKFI INC., et al.
 Case No.                     22-19361 (MBK)
 Caption of Order:            ORDER GRANTING WIND-DOWN DEBTORS’ TWELFTH OMNIBUS
                              OBJECTION TO CLAIMS FILED AGAINST BLOCKFI WALLET LLC

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     (973) 230-2095
     DStolz@genovaburns.com
     DClarke@genovaburns.com

     Local Counsel for the Plan Administrator



 Upon consideration of the Wind-Down Debtors’ Twelfth Objection to Claims Filed against

 BlockFi Wallet LLC (the “Objection”) 1; and the Court having jurisdiction to consider the Objection

 and the relief requested therein pursuant to 28 U.S.C. § 157 and Standing Order 12-1 (Simandle,

 C.J.), Standing Order of Reference to the Bankruptcy Court Under Title 11, dated September 18,

 2012; and consideration of the Objection and the relief requested therein being a core proceeding

 pursuant to 28 U.S.C. § 157(b); and venue being proper before this Court pursuant to 28 U.S.C.

 §§ 1408 and 1409; and due and proper notice of the Objection having been provided; and it

 appearing that no other or further notice need be provided; and it appearing that no other or further



 1
     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Objection.

                                                            2
Case 22-19361-MBK         Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                  Desc Main
                                 Document    Page 3 of 802
 (Page 3)
 Debtors:              BLOCKFI INC., et al.
 Case No.              22-19361 (MBK)
 Caption of Order:     ORDER GRANTING WIND-DOWN DEBTORS’ TWELFTH OMNIBUS
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 notice of the Objection need be provided; and all responses, if any, to the Objection having been

 withdrawn, resolved, or overruled; and the Court having found and determined that the relief

 sought in the Objection is in the best interests of the Wind-Down Debtors, their respective estates

 and creditors, and all parties-in-interest; and the Court having determined that the legal and factual

 bases set forth in the Objection establish just cause for the relief granted herein; and upon the

 Certification of Michelle Henry attached to the Objection, the record herein, and all of the

 proceedings had before the Court; and after due deliberation and sufficient cause appearing

 therefor,

         IT IS HEREBY ORDERED THAT:

         1.      The Objection is SUSTAINED as set forth herein.

         2.      The Disputed Claims listed on Schedule 1 attached hereto are hereby deemed

 disallowed as detailed on Schedule 1.

         3.      Kroll Restructuring Administration LLC (the “Claims and Noticing Agent”) is

 hereby authorized and directed to expunge each Disputed Claim on Schedule 1.

         4.      The Wind-Down Debtors are authorized to take all steps necessary or appropriate

 to carry out the relief granted in this Order.

         5.      The terms, conditions, and provisions of this Order shall be immediately effective

 and enforceable upon its entry.

         6.      Notwithstanding anything to the contrary in the Objection, this Order, or any

 findings announced at the hearing, nothing in the Objection, this Order, or announced at the hearing

 constitutes a finding under the federal securities laws as to whether crypto tokens or transactions




                                                   3
Case 22-19361-MBK         Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                   Desc Main
                                 Document    Page 4 of 802
 (Page 4)
 Debtors:              BLOCKFI INC., et al.
 Case No.              22-19361 (MBK)
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 involving crypto tokens are securities, and the right of the United States Securities and Exchange

 Commission to challenge transactions involving crypto tokens on any basis are expressly reserved.

         7.      Nothing contained in this Objection or any actions taken pursuant to any order

 granting the relief requested by this Objection is intended or should be construed as: (a) an

 admission as to the validity of any particular claim against the Wind-Down Debtors, (b) a waiver

 of the Wind-Down Debtors’ rights to dispute any particular claim on any grounds, (c) a promise

 or requirement to pay any particular claim, (d) an implication or admission that any particular

 claim is of a type specified or defined in this Objection or any order granting the relief requested

 by this Objection, (e) a request or authorization to assume any agreement, contract, or lease

 pursuant to section 365 of the Bankruptcy Code, (f) a waiver or limitation of the Wind-Down

 Debtors’ rights under the Bankruptcy Code or any other applicable law; or (g) a concession by the

 Wind-Down Debtors that any liens (contractual, common law, statutory, or otherwise) satisfied

 pursuant to the Objection are valid, and the Wind-Down Debtors expressly reserve their rights to

 contest the extent, validity, or perfection or seek avoidance of all such liens. If the Court grants the

 relief sought herein, any transfer made pursuant to the Court’s Order is not intended and should

 not be construed as an admission as to the validity of any particular claim or a waiver of the Wind-

 Down Debtors’ rights to subsequently dispute such claim.

         8.      The objection to each Disputed Claim addressed in the Objection and as set forth

 on Schedule 1 attached hereto constitutes a separate contested matter as contemplated by

 Bankruptcy Rule 9014. This Order shall be deemed a separate order with respect to each claim

 that is the subject of the Objection and this Order. Any stay of this Order pending appeal by any

 claimants whose claims are subject to this Order shall only apply to the contested matter that



                                                    4
Case 22-19361-MBK          Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                 Desc Main
                                  Document    Page 5 of 802
 (Page 5)
 Debtors:              BLOCKFI INC., et al.
 Case No.              22-19361 (MBK)
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 involves such claimant and shall not stay the applicability and/or finality of this Order with respect

 to any other contested matters addressed in the Objection and this Order.

        9.      The requirement set forth in Local Rule 9013-1(a)(3) that any motion be

 accompanied by a memorandum of law is hereby deemed satisfied by the contents of the Objection

 or is otherwise waived.

        10.     This Court shall retain jurisdiction with respect to all matters arising from or related

 to the implementation, interpretation, or enforcement of this Order.




                                                   5
Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58   Desc Main
                           Document    Page 6 of 802



                                   Schedule 1

                                Disputed Claims
  Case 22-19361-MBK                              Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                                                Desc Main
                                                        Document    Page 7 of 802

                                                                               Debtor: BlockFi Inc et al.
                                                                 Relevant Case Numbers: BlockFi Wallet LLC 22-19366
                                                                              Twelfth Omnibus Objection


Any funds held in your Wallet are NOT impacted by the expungement of the BlockFi Wallet LLC claim amounts below.

To view and withdraw your Wallet balance, login to BlockFi.com. For more information on Wallet withdrawals, view the FAQs at https://blockfi.com/wallet-withdrawal-faqs/. For
more information on the claims process, view the FAQs at https://blockfi.com/proof-of-claim-faqs/.

Any claims you may have related to your BlockFi Interest Account (BIA) or your retail loan collateral are also NOT affected by the expungement of the claims below. Any proof of
claims you may have filed regarding your BIA or retail loan collateral claims will be handled separately. If you did not file any other proofs of claim, you will receive a pro-rata
distribution based on your scheduled amounts according to the Debtors' books and records.


    Claimant Name           Proof of Claim No.        Filed Entity on Form            Action                                               Note
       Redacted                     19                  BlockFi Wallet LLC           Expunge       Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                                                   affected by this objection because those funds are not property of the estate; any
                                                                                                   claims for funds you may have related to BIA or retail loan collateral are not
                                                                                                   impacted by this objection.

       Redacted                     35                 BlockFi Wallet LLC            Expunge       Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                                                   affected by this objection because those funds are not property of the estate; any
                                                                                                   claims for funds you may have related to BIA or retail loan collateral are not
                                                                                                   impacted by this objection.

       Redacted                     84                 BlockFi Wallet LLC            Expunge       Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                                                   affected by this objection because those funds are not property of the estate; any
                                                                                                   claims for funds you may have related to BIA or retail loan collateral are not
                                                                                                   impacted by this objection.

       Redacted                    102                 BlockFi Wallet LLC            Expunge       Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                                                   affected by this objection because those funds are not property of the estate; any
                                                                                                   claims for funds you may have related to BIA or retail loan collateral are not
                                                                                                   impacted by this objection.

       Redacted                    153                 BlockFi Wallet LLC            Expunge       Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                                                   affected by this objection because those funds are not property of the estate; any
                                                                                                   claims for funds you may have related to BIA or retail loan collateral are not
                                                                                                   impacted by this objection.

       Redacted                    154                 BlockFi Wallet LLC            Expunge       Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                                                   affected by this objection because those funds are not property of the estate; any
                                                                                                   claims for funds you may have related to BIA or retail loan collateral are not
                                                                                                   impacted by this objection.

       Redacted                    167                 BlockFi Wallet LLC            Expunge       Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                                                   affected by this objection because those funds are not property of the estate; any
                                                                                                   claims for funds you may have related to BIA or retail loan collateral are not
                                                                                                   impacted by this objection.

       Redacted                    174                 BlockFi Wallet LLC            Expunge       Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                                                   affected by this objection because those funds are not property of the estate; any
                                                                                                   claims for funds you may have related to BIA or retail loan collateral are not
                                                                                                   impacted by this objection.

       Redacted                    194                 BlockFi Wallet LLC            Expunge       Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                                                   affected by this objection because those funds are not property of the estate; any
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                                                                                                   impacted by this objection.

       Redacted                    195                 BlockFi Wallet LLC            Expunge       Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                                                   affected by this objection because those funds are not property of the estate; any
                                                                                                   claims for funds you may have related to BIA or retail loan collateral are not
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       Redacted                    331                 BlockFi Wallet LLC            Expunge       Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                                                   affected by this objection because those funds are not property of the estate; any
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       Redacted                    363                 BlockFi Wallet LLC            Expunge       Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                                                   affected by this objection because those funds are not property of the estate; any
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Case 22-19361-MBK         Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                 Document    Page 8 of 802

    Redacted        408      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted        417      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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American Business   425      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
  Concepts, Inc                                             affected by this objection because those funds are not property of the estate; any
                                                            claims for funds you may have related to BIA or retail loan collateral are not
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    Redacted        432      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted        448      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted        468      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                            affected by this objection because those funds are not property of the estate; any
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    Redacted        486      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted        545      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                            affected by this objection because those funds are not property of the estate; any
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    Redacted        551      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted        589      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                            claims for funds you may have related to BIA or retail loan collateral are not
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    Redacted        740      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                            affected by this objection because those funds are not property of the estate; any
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    Redacted        760      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                            affected by this objection because those funds are not property of the estate; any
                                                            claims for funds you may have related to BIA or retail loan collateral are not
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    Redacted        801      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                            affected by this objection because those funds are not property of the estate; any
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    Redacted        819      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                            affected by this objection because those funds are not property of the estate; any
                                                            claims for funds you may have related to BIA or retail loan collateral are not
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    Redacted        856      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 9 of 802

 Redacted    857       BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    891       BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    898       BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    912       BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    929       BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    940       BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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 Redacted    966       BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    996       BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    1005      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    1019      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    1022      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    1029      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    1036      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    1037      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    1041      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 10 of 802

 Redacted    1046      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    1048      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    1049      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    1059      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    1061      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    1067      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    1071      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    1087      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    1093      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    1101      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    1105      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    1112      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    1118      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    1126      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    1138      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 11 of 802

 Redacted    1142      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    1144      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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 Redacted    1154      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    1165      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    1191      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    1206      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 12 of 802

 Redacted    1246      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    1301      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 13 of 802

 Redacted    1328      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    1406      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    1414      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    1434      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK          Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                  Document    Page 14 of 802

EDI Holdings, LLC   1446      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                             affected by this objection because those funds are not property of the estate; any
                                                             claims for funds you may have related to BIA or retail loan collateral are not
                                                             impacted by this objection.

   MOBJACK          1449      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
ACQUISITIONS INC.                                            affected by this objection because those funds are not property of the estate; any
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    Redacted        1454      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted        1463      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted        1471      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted        1502      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 15 of 802

 Redacted    1503      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    1508      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    1511      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    1512      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    1514      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    1517      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    1520      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    1552      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 16 of 802

 Redacted    1569      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                  Document    Page 17 of 802

    Redacted        1672      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted        1696      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                             affected by this objection because those funds are not property of the estate; any
                                                             claims for funds you may have related to BIA or retail loan collateral are not
                                                             impacted by this objection.

    Redacted        1700      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                             affected by this objection because those funds are not property of the estate; any
                                                             claims for funds you may have related to BIA or retail loan collateral are not
                                                             impacted by this objection.

    Redacted        1706      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                             affected by this objection because those funds are not property of the estate; any
                                                             claims for funds you may have related to BIA or retail loan collateral are not
                                                             impacted by this objection.

    Redacted        1707      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                             affected by this objection because those funds are not property of the estate; any
                                                             claims for funds you may have related to BIA or retail loan collateral are not
                                                             impacted by this objection.

    Redacted        1709      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                             affected by this objection because those funds are not property of the estate; any
                                                             claims for funds you may have related to BIA or retail loan collateral are not
                                                             impacted by this objection.

    Redacted        1716      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                             affected by this objection because those funds are not property of the estate; any
                                                             claims for funds you may have related to BIA or retail loan collateral are not
                                                             impacted by this objection.

    Redacted        1717      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                             affected by this objection because those funds are not property of the estate; any
                                                             claims for funds you may have related to BIA or retail loan collateral are not
                                                             impacted by this objection.

    Redacted        1719      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                             affected by this objection because those funds are not property of the estate; any
                                                             claims for funds you may have related to BIA or retail loan collateral are not
                                                             impacted by this objection.

Metroplex Systems   1720      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                             affected by this objection because those funds are not property of the estate; any
                                                             claims for funds you may have related to BIA or retail loan collateral are not
                                                             impacted by this objection.

    Redacted        1721      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                             affected by this objection because those funds are not property of the estate; any
                                                             claims for funds you may have related to BIA or retail loan collateral are not
                                                             impacted by this objection.
 Case 22-19361-MBK             Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                      Document    Page 18 of 802

     Redacted           1734      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted           1735      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted           1740      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted           1742      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted           1745      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted           1751      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted           1752      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted           1763      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted           1770      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted           1781      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

The Positive Approach   1783      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
     Group, Inc                                                  affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted           1785      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted           1797      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted           1798      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted           1804      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 19 of 802

 Redacted    1812      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    1822      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    1829      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    1830      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    1850      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    1851      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    1853      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    1861      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    1867      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    1869      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    1884      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    1885      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    1890      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    1891      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    1895      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK     Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                             Document    Page 20 of 802

  Redacted     1898      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                        affected by this objection because those funds are not property of the estate; any
                                                        claims for funds you may have related to BIA or retail loan collateral are not
                                                        impacted by this objection.

  Redacted     1899      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                        affected by this objection because those funds are not property of the estate; any
                                                        claims for funds you may have related to BIA or retail loan collateral are not
                                                        impacted by this objection.

  Redacted     1916      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                        affected by this objection because those funds are not property of the estate; any
                                                        claims for funds you may have related to BIA or retail loan collateral are not
                                                        impacted by this objection.

  Redacted     1929      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                        affected by this objection because those funds are not property of the estate; any
                                                        claims for funds you may have related to BIA or retail loan collateral are not
                                                        impacted by this objection.

  Redacted     1940      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                        affected by this objection because those funds are not property of the estate; any
                                                        claims for funds you may have related to BIA or retail loan collateral are not
                                                        impacted by this objection.

  Redacted     1942      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                        affected by this objection because those funds are not property of the estate; any
                                                        claims for funds you may have related to BIA or retail loan collateral are not
                                                        impacted by this objection.

  Redacted     1957      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                        affected by this objection because those funds are not property of the estate; any
                                                        claims for funds you may have related to BIA or retail loan collateral are not
                                                        impacted by this objection.

 KR1004 Corp   1959      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                        affected by this objection because those funds are not property of the estate; any
                                                        claims for funds you may have related to BIA or retail loan collateral are not
                                                        impacted by this objection.

  Redacted     1966      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                        affected by this objection because those funds are not property of the estate; any
                                                        claims for funds you may have related to BIA or retail loan collateral are not
                                                        impacted by this objection.

  Redacted     1970      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                        affected by this objection because those funds are not property of the estate; any
                                                        claims for funds you may have related to BIA or retail loan collateral are not
                                                        impacted by this objection.

  Redacted     1971      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                        affected by this objection because those funds are not property of the estate; any
                                                        claims for funds you may have related to BIA or retail loan collateral are not
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  Redacted     1972      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                        affected by this objection because those funds are not property of the estate; any
                                                        claims for funds you may have related to BIA or retail loan collateral are not
                                                        impacted by this objection.

  Redacted     1981      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                        affected by this objection because those funds are not property of the estate; any
                                                        claims for funds you may have related to BIA or retail loan collateral are not
                                                        impacted by this objection.

  Redacted     1986      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                        affected by this objection because those funds are not property of the estate; any
                                                        claims for funds you may have related to BIA or retail loan collateral are not
                                                        impacted by this objection.

  Redacted     1991      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                        affected by this objection because those funds are not property of the estate; any
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 21 of 802

 Redacted    1992      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    1996      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    2008      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    2013      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    2019      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    2026      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    2030      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    2032      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    2033      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    2035      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    2043      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    2045      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    2050      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    2054      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    2077      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 22 of 802

 Redacted    2078      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    2080      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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 Redacted    2081      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    2082      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    2089      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    2090      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    2092      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    2094      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    2100      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    2105      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    2114      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    2117      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    2123      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    2142      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    2143      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 23 of 802

 Redacted    2152      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    2156      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    2160      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    2163      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    2175      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    2189      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    2191      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    2193      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    2199      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    2204      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    2205      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    2216      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    2223      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    2226      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    2228      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 24 of 802

 Redacted    2234      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    2235      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    2238      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    2240      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    2243      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    2252      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    2254      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    2257      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    2262      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    2272      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    2276      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    2281      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    2295      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    2302      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    2306      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 25 of 802

 Redacted    2314      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    2316      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    2321      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    2323      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    2326      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    2329      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    2330      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    2338      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    2343      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    2346      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    2348      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    2355      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    2371      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    2372      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    2382      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK          Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                  Document    Page 26 of 802

    Redacted        2384      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                             affected by this objection because those funds are not property of the estate; any
                                                             claims for funds you may have related to BIA or retail loan collateral are not
                                                             impacted by this objection.

    Redacted        2396      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                             affected by this objection because those funds are not property of the estate; any
                                                             claims for funds you may have related to BIA or retail loan collateral are not
                                                             impacted by this objection.

    Redacted        2401      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                             affected by this objection because those funds are not property of the estate; any
                                                             claims for funds you may have related to BIA or retail loan collateral are not
                                                             impacted by this objection.

Metroplex Systems   2402      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                             affected by this objection because those funds are not property of the estate; any
                                                             claims for funds you may have related to BIA or retail loan collateral are not
                                                             impacted by this objection.

    Redacted        2403      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                             affected by this objection because those funds are not property of the estate; any
                                                             claims for funds you may have related to BIA or retail loan collateral are not
                                                             impacted by this objection.

    Redacted        2405      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                             affected by this objection because those funds are not property of the estate; any
                                                             claims for funds you may have related to BIA or retail loan collateral are not
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    Redacted        2415      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                             affected by this objection because those funds are not property of the estate; any
                                                             claims for funds you may have related to BIA or retail loan collateral are not
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    Redacted        2421      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                             affected by this objection because those funds are not property of the estate; any
                                                             claims for funds you may have related to BIA or retail loan collateral are not
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    Redacted        2422      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted        2426      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                             affected by this objection because those funds are not property of the estate; any
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    Redacted        2431      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted        2437      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted        2441      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                             claims for funds you may have related to BIA or retail loan collateral are not
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    Redacted        2445      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted        2446      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 27 of 802

 Redacted    2450      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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 Redacted    2452      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    2461      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    2462      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    2464      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    2465      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    2469      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    2470      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    2474      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    2482      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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 Redacted    2486      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    2487      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    2490      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    2499      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    2500      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 28 of 802

 Redacted    2501      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    2513      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    2514      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    2515      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    2517      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    2518      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    2519      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    2532      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    2533      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    2534      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    2543      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    2548      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    2550      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    2553      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Case 22-19361-MBK            Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                     Document    Page 29 of 802

     Redacted          2554      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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     Redacted          2561      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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     Redacted          2563      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

Supply & Demand, LLC   2573      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
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     Redacted          2579      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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     Redacted          2582      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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     Redacted          2587      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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     Redacted          2602      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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     Redacted          2604      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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     Redacted          2609      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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     Redacted          2611      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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     Redacted          2618      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 30 of 802

 Redacted    2637      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 31 of 802

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                           Document    Page 32 of 802

 Redacted    2750      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 33 of 802

 Redacted    2803      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 35 of 802

 Redacted    2929      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 36 of 802

 Redacted    2984      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    2985      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    2995      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    2996      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    3004      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    3006      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    3013      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    3017      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    3022      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    3029      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    3030      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    3032      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    3039      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    3046      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    3048      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 37 of 802

 Redacted    3099      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    3104      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    3109      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    3111      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    3112      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    3113      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    3115      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    3119      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    3124      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    3133      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    3134      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    3135      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    3145      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    3149      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    3155      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK           Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                   Document    Page 38 of 802

    Redacted         3159      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                              affected by this objection because those funds are not property of the estate; any
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    Redacted         3163      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted         3172      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted         3174      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted         3175      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted         3177      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted         3185      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted         3192      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted         3198      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                              claims for funds you may have related to BIA or retail loan collateral are not
                                                              impacted by this objection.

Benchmark Ventures   3202      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
   LLC (WY LLC)                                               affected by this objection because those funds are not property of the estate; any
                                                              claims for funds you may have related to BIA or retail loan collateral are not
                                                              impacted by this objection.

    Redacted         3207      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted         3210      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted         3228      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted         3237      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted         3242      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 39 of 802

 Redacted    3250      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    3268      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    3279      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    3289      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    3291      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    3292      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    3304      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    3311      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    3312      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    3317      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    3318      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    3328      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 40 of 802

 Redacted    3330      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    3331      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    3332      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    3333      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    3334      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    3335      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    3338      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 41 of 802

 Redacted    3348      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    3356      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    3360      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    3361      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 42 of 802

 Redacted    3364      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 43 of 802

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                           Document    Page 44 of 802

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                           Document    Page 45 of 802

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                           Document    Page 46 of 802

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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 49 of 802

 Redacted    3511      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 50 of 802

 Redacted    3532      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 51 of 802

 Redacted    3555      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 52 of 802

 Redacted    3575      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 53 of 802

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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 54 of 802

 Redacted    3610      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 55 of 802

 Redacted    3628      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 56 of 802

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                           Document    Page 57 of 802

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                           Document    Page 58 of 802

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                           Document    Page 59 of 802

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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 61 of 802

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                           Document    Page 62 of 802

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                           Document    Page 63 of 802

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                           Document    Page 64 of 802

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                           Document    Page 65 of 802

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                           Document    Page 67 of 802

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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 68 of 802

 Redacted    3895      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    3901      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    3902      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    3903      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    3905      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    3906      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    3910      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    3911      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    3913      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    3919      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 69 of 802

 Redacted    3948      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    3953      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 70 of 802

 Redacted    3969      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    3995      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 71 of 802

 Redacted    3996      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    3998      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4001      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4002      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4006      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4008      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4010      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4013      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4014      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4015      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4016      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4017      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4020      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 72 of 802

 Redacted    4021      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4022      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4023      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4025      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4027      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4029      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4031      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4032      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4038      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4039      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 73 of 802

 Redacted    4045      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 74 of 802

 Redacted    4066      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 75 of 802

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                           Document    Page 76 of 802

 Redacted    4113      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                               Document    Page 77 of 802

  Redacted       4139      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Tecajspsp, LLC   4157      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 78 of 802

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                           Document    Page 79 of 802

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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 80 of 802

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                           Document    Page 81 of 802

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                           Document    Page 82 of 802

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                           Document    Page 84 of 802

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                           Document    Page 85 of 802

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Case 22-19361-MBK             Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                     Document    Page 86 of 802

     Redacted          4310      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Pastori Family Trust   4321      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 87 of 802

 Redacted    4328      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 88 of 802

 Redacted    4345      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 89 of 802

 Redacted    4367      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 90 of 802

 Redacted    4384      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 91 of 802

 Redacted    4403      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4414      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4418      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4419      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4420      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK            Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                    Document    Page 92 of 802

     Redacted         4423      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

 Crane Investment     4432      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
   Partners LLC                                                affected by this objection because those funds are not property of the estate; any
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982 Investments LLC   4438      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 93 of 802

 Redacted    4445      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 94 of 802

 Redacted    4464      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                              Document    Page 95 of 802

  Redacted      4484      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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APS Group Inc   4499      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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  Redacted      4500      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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  Redacted      4501      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 96 of 802

 Redacted    4502      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4504      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4505      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4506      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4508      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4509      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4510      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4514      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4515      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4518      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4519      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4520      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4521      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4522      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 98 of 802

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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 99 of 802

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                          Document    Page 100 of 802

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                          Document    Page 101 of 802

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                          Document    Page 102 of 802

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                          Document    Page 104 of 802

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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 105 of 802

 Redacted    4682      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 106 of 802

 Redacted    4701      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4702      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4706      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4710      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4715      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4716      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4718      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK      Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                             Document    Page 107 of 802

  Redacted      4722      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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  Redacted      4731      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Zoomhash, LLC   4741      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 108 of 802

 Redacted    4742      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4751      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4752      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 109 of 802

 Redacted    4762      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4771      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 110 of 802

 Redacted    4786      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4799      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4800      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 111 of 802

 Redacted    4803      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4804      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4813      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4818      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4823      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 112 of 802

 Redacted    4824      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4826      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4828      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4829      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4830      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4831      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4832      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4835      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4838      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4843      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 113 of 802

 Redacted    4849      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4851      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 114 of 802

 Redacted    4868      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4882      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4883      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 115 of 802

 Redacted    4886      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4889      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4890      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4900      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4901      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 116 of 802

 Redacted    4902      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4903      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4904      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4908      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4911      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4912      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4914      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4917      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 117 of 802

 Redacted    4918      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4919      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4920      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4931      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 118 of 802

 Redacted    4937      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4950      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4951      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4952      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4953      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4955      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 119 of 802

 Redacted    4956      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4957      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4958      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4959      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4960      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4961      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 120 of 802

 Redacted    4972      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4982      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 121 of 802

 Redacted    4990      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4997      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5000      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5001      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5003      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5004      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5005      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5006      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5007      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5008      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 122 of 802

 Redacted    5010      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5011      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5012      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5014      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5015      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5016      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5017      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5018      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5020      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5022      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5023      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5024      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5025      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5026      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5028      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 123 of 802

 Redacted    5029      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 124 of 802

 Redacted    5050      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 125 of 802

 Redacted    5071      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 126 of 802

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                          Document    Page 127 of 802

 Redacted    5114      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 128 of 802

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                          Document    Page 129 of 802

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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 130 of 802

 Redacted    5198      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK            Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                   Document    Page 131 of 802

     Redacted         5226      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Sunscheine Ventures   5236      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 132 of 802

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                          Document    Page 133 of 802

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                          Document    Page 134 of 802

 Redacted    5282      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 135 of 802

 Redacted    5302      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 136 of 802

 Redacted    5317      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 137 of 802

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                          Document    Page 138 of 802

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 Redacted    5413      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 140 of 802

 Redacted    5474      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 141 of 802

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 Redacted    5516      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5518      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5519      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK         Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                Document    Page 142 of 802

   Redacted        5529      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted        5530      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Element Nord Ltd   5532      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted        5534      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted        5536      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 143 of 802

 Redacted    5566      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5569      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5570      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5571      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5582      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5584      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5585      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5588      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 144 of 802

 Redacted    5589      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5600      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5603      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5604      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5605      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5607      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5608      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5610      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5611      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5612      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5613      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5614      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 145 of 802

 Redacted    5626      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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 Redacted    5635      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5637      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5646      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5648      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5655      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5670      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5674      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5680      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5687      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 146 of 802

 Redacted    5688      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5692      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5699      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5700      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5703      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5708      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 147 of 802

 Redacted    5728      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5729      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5730      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5731      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5732      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5740      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5741      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5747      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 148 of 802

 Redacted    5748      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 149 of 802

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                          Document    Page 151 of 802

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 Redacted    5982      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    5984      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    5989      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    5998      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    6002      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    6006      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    6010      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    6017      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    6023      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    6030      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    6031      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    6049      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Case 22-19361-MBK             Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                     Document    Page 155 of 802

     Redacted           6053      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted           6054      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted           6055      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted           6058      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted           6064      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted           6070      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted           6072      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted           6081      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted           6085      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted           6086      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted           6087      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted           6089      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

Mad Hat Creative, LLC   6090      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted           6091      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted           6093      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 156 of 802

 Redacted    6094      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    6095      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    6096      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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 Redacted    6097      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    6098      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    6099      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    6100      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    6101      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    6102      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    6103      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    6104      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    6105      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    6106      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    6108      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    6109      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 157 of 802

 Redacted    6110      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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 Redacted    6111      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    6112      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    6114      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    6115      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    6116      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    6117      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    6118      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    6120      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    6121      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    6122      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    6124      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    6125      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    6142      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    6144      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 158 of 802

 Redacted    6147      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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 Redacted    6149      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    6153      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    6157      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    6162      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    6167      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    6171      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    6174      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    6175      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    6177      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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 Redacted    6179      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    6182      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    6185      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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 Redacted    6187      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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 Redacted    6191      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 159 of 802

 Redacted    6198      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    6200      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    6202      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    6203      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    6204      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    6205      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    6206      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    6207      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    6210      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    6211      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    6212      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    6213      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    6214      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    6215      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    6219      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK         Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                Document    Page 160 of 802

   Redacted        6220      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                            affected by this objection because those funds are not property of the estate; any
                                                            claims for funds you may have related to BIA or retail loan collateral are not
                                                            impacted by this objection.

Pro Star Roofing   6221      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                            affected by this objection because those funds are not property of the estate; any
                                                            claims for funds you may have related to BIA or retail loan collateral are not
                                                            impacted by this objection.

   Redacted        6223      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                            affected by this objection because those funds are not property of the estate; any
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   Redacted        6224      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted        6225      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted        6226      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                            claims for funds you may have related to BIA or retail loan collateral are not
                                                            impacted by this objection.

   Redacted        6227      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Suga LLC        6228      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted        6230      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted        6246      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 161 of 802

 Redacted    6255      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 162 of 802

 Redacted    6288      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    6302      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    6304      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    6305      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    6311      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    6314      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK        Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                               Document    Page 163 of 802

   Redacted       6323      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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CRYPTO AFFLUENT   6330      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted       6361      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 164 of 802

 Redacted    6367      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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 Redacted    6378      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    6380      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK           Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                  Document    Page 165 of 802

    Redacted         6393      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Adi Ofer Revocable   6396      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted         6398      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted         6401      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted         6402      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted         6403      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted         6404      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted         6410      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted         6420      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 166 of 802

 Redacted    6421      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    6431      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 167 of 802

 Redacted    6460      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 168 of 802

 Redacted    6506      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 169 of 802

 Redacted    6541      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 170 of 802

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                          Document    Page 171 of 802

 Redacted    6593      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    6616      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK         Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                Document    Page 172 of 802

   Redacted        6619      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                            affected by this objection because those funds are not property of the estate; any
                                                            claims for funds you may have related to BIA or retail loan collateral are not
                                                            impacted by this objection.

   Redacted        6620      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Aleo Systems Inc   6621      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted        6624      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted        6652      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK       Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                              Document    Page 173 of 802

  Redacted       6655      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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  Redacted       6660      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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  Redacted       6662      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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  Redacted       6663      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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  Redacted       6667      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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  Redacted       6669      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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  Redacted       6670      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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  Redacted       6674      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                          affected by this objection because those funds are not property of the estate; any
                                                          claims for funds you may have related to BIA or retail loan collateral are not
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M&S Crypto LLC   6676      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 174 of 802

 Redacted     6677      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted     6679      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted     6681      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Pirque LLC   6683      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted     6686      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted     6689      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted     6691      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted     6692      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted     6697      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted     6699      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted     6700      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted     6701      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted     6702      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Case 22-19361-MBK                Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                          Document    Page 175 of 802

       Redacted              6703      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                      affected by this objection because those funds are not property of the estate; any
                                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                                      impacted by this objection.

   Communication &           6704      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
Surveillance Service, Inc.                                            affected by this objection because those funds are not property of the estate; any
                                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                                      impacted by this objection.

       Redacted              6705      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                      affected by this objection because those funds are not property of the estate; any
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       Redacted              6707      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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       Redacted              6710      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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       Redacted              6711      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                                      claims for funds you may have related to BIA or retail loan collateral are not
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       Redacted              6712      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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       Redacted              6713      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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       Redacted              6717      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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       Redacted              6718      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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       Redacted              6719      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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       Redacted              6720      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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       Redacted              6724      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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       Redacted              6725      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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       Redacted              6726      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 176 of 802

 Redacted    6728      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    6730      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    6732      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    6733      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    6734      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    6736      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    6737      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    6740      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 177 of 802

 Redacted    6748      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    6751      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    6752      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK        Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                               Document    Page 178 of 802

  Redacted        6766      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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  Redacted        6767      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Hartwell Tech    6768      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                           affected by this objection because those funds are not property of the estate; any
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  Redacted        6773      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                           affected by this objection because those funds are not property of the estate; any
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K-38 401K Trust   6774      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                           affected by this objection because those funds are not property of the estate; any
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  Redacted        6775      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                           affected by this objection because those funds are not property of the estate; any
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  Redacted        6777      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                           affected by this objection because those funds are not property of the estate; any
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  Redacted        6778      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                           affected by this objection because those funds are not property of the estate; any
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  Redacted        6780      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                           affected by this objection because those funds are not property of the estate; any
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  Redacted        6783      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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  Redacted        6784      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 179 of 802

 Redacted    6786      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 180 of 802

 Redacted    6815      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 181 of 802

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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 182 of 802

 Redacted    6870      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                             Document    Page 183 of 802

  Redacted      6891      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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  Redacted      6900      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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  Redacted      6901      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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BetaQuick LLC   6916      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 184 of 802

 Redacted    6919      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 185 of 802

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 Redacted    6951      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    6952      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 186 of 802

 Redacted    6965      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 187 of 802

 Redacted    6981      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    6982      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    6983      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    6984      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    6986      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    6988      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    6990      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 188 of 802

 Redacted    6998      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    7000      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    7001      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    7002      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    7003      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    7004      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    7005      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    7006      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    7007      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    7008      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    7010      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    7011      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    7012      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    7013      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 189 of 802

 Redacted    7016      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    7018      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    7020      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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 Redacted    7022      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    7023      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    7025      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    7030      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    7031      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    7032      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    7033      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    7034      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    7035      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    7036      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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  Ayea LLC   7037      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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 Redacted    7039      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Case 22-19361-MBK              Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                      Document    Page 190 of 802

      Redacted           7040      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
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      Redacted           7042      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted           7051      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted           7052      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted           7053      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted           7054      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted           7055      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted           7057      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted           7058      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted           7059      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted           7061      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
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   ColaMiners, LLC       7062      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted           7063      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Janet E. Long GST Tust   7064      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 191 of 802

 Redacted    7066      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    7067      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    7069      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    7070      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    7071      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    7072      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 192 of 802

 Redacted    7085      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                  Document    Page 193 of 802

    Redacted         7102      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Maye Holdings, LLC   7106      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 195 of 802

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                          Document    Page 197 of 802

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 Case 22-19361-MBK              Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                      Document    Page 198 of 802

     Redacted            7194      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Envisionit Media, Inc.   7205      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 199 of 802

 Redacted    7211      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 200 of 802

 Redacted    7232      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 201 of 802

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                          Document    Page 202 of 802

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                          Document    Page 203 of 802

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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 204 of 802

 Redacted    7318      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 205 of 802

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                          Document    Page 206 of 802

 Redacted    7352      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 207 of 802

 Redacted    7376      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 208 of 802

 Redacted    7393      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    7400      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    7402      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    7404      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    7411      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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  Case 22-19361-MBK              Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                       Document    Page 209 of 802

      Redacted            7412      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted            7413      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted            7414      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted            7415      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted            7416      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted            7418      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Asset Transaction Legal   7419      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
    Services, PLLC                                                 affected by this objection because those funds are not property of the estate; any
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      Redacted            7420      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted            7421      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted            7423      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted            7425      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted            7426      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted            7427      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted            7428      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 210 of 802

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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 211 of 802

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                          Document    Page 212 of 802

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                          Document    Page 213 of 802

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                          Document    Page 214 of 802

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                          Document    Page 215 of 802

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                          Document    Page 216 of 802

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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 217 of 802

 Redacted    7560      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 218 of 802

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                          Document    Page 219 of 802

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                          Document    Page 220 of 802

 Redacted    7616      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 221 of 802

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                          Document    Page 222 of 802

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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 223 of 802

 Redacted    7677      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 224 of 802

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                          Document    Page 225 of 802

 Redacted    7714      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 226 of 802

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                          Document    Page 227 of 802

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                          Document    Page 228 of 802

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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 229 of 802

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                          Document    Page 230 of 802

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                          Document    Page 231 of 802

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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 235 of 802

 Redacted    7918      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 236 of 802

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                          Document    Page 237 of 802

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                          Document    Page 238 of 802

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                          Document    Page 239 of 802

 Redacted    7989      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8000      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8001      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8002      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8003      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8004      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 240 of 802

 Redacted    8005      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8006      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8007      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8008      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8009      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8010      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8012      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8013      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 241 of 802

 Redacted    8024      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 242 of 802

 Redacted    8041      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 243 of 802

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                          Document    Page 245 of 802

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                          Document    Page 246 of 802

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                          Document    Page 247 of 802

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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 248 of 802

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                          Document    Page 249 of 802

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Case 22-19361-MBK           Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                  Document    Page 250 of 802

Jacobsen Revocable   8189      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 251 of 802

 Redacted    8208      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 252 of 802

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                          Document    Page 253 of 802

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 Redacted    8257      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8261      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 254 of 802

 Redacted    8262      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8264      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8268      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8269      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8280      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8281      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8282      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK         Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                Document    Page 255 of 802

   Redacted        8283      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted        8285      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted        8286      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted        8287      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted        8288      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted        8289      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted        8292      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                            affected by this objection because those funds are not property of the estate; any
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Harms Mining LLC   8294      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                            affected by this objection because those funds are not property of the estate; any
                                                            claims for funds you may have related to BIA or retail loan collateral are not
                                                            impacted by this objection.

   Redacted        8296      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted        8297      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted        8298      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted        8299      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted        8300      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 256 of 802

 Redacted    8301      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    8302      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8303      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8304      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8305      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8306      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8307      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8308      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8310      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8311      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8312      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8315      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8316      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8317      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 257 of 802

 Redacted    8318      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8319      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8321      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8325      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8326      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8327      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8330      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8332      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 258 of 802

 Redacted    8338      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8339      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8340      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8341      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8342      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8343      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8344      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8345      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8346      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8347      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8348      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8349      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8350      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8351      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8355      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK          Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                 Document    Page 259 of 802

Bespoke Seven LLC   8357      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                             affected by this objection because those funds are not property of the estate; any
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    Redacted        8358      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted        8359      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted        8360      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted        8361      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted        8362      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted        8363      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted        8366      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted        8367      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted        8368      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted        8370      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted        8371      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted        8372      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                             claims for funds you may have related to BIA or retail loan collateral are not
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    Redacted        8373      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                             claims for funds you may have related to BIA or retail loan collateral are not
                                                             impacted by this objection.

    Redacted        8374      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 260 of 802

 Redacted    8375      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    8376      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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 Redacted    8377      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    8378      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    8379      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    8380      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    8382      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    8383      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    8384      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    8385      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8386      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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 Redacted    8387      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8388      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    8389      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8392      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 261 of 802

 Redacted    8393      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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 Redacted    8394      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    8395      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8396      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8397      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    8399      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    8400      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    8401      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    8402      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    8403      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    8404      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8405      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8406      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8407      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8408      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Case 22-19361-MBK            Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                    Document    Page 262 of 802

     Redacted          8409      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

     Redacted          8410      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

     Redacted          8411      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

     Redacted          8413      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

     Redacted          8415      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
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     Redacted          8416      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

     Redacted          8417      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
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     Redacted          8418      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
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     Redacted          8419      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
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     Redacted          8421      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
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     Redacted          8422      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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     Redacted          8423      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                                claims for funds you may have related to BIA or retail loan collateral are not
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     Redacted          8424      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

     Redacted          8425      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

Canterbury Unlimited   8426      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
  Mining Hodling &                                              affected by this objection because those funds are not property of the estate; any
Operations Group LLC                                            claims for funds you may have related to BIA or retail loan collateral are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 263 of 802

 Redacted    8427      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    8430      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    8431      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    8432      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    8433      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    8435      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    8436      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    8437      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    8439      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8441      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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 Redacted    8443      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    8445      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8446      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8447      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8448      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK            Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                   Document    Page 264 of 802

     Redacted         8449      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
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     Redacted         8450      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
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     Redacted         8451      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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     Redacted         8452      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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     Redacted         8454      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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     Redacted         8456      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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     Redacted         8457      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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     Redacted         8458      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Orinoco Alchemy Inc   8459      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
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     Redacted         8460      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
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     Redacted         8461      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
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     Redacted         8462      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                               impacted by this objection.

     FWU LLC          8463      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
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                                                               impacted by this objection.

     Redacted         8464      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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     Redacted         8465      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 265 of 802

 Redacted    8466      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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 Redacted    8467      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8468      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8470      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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 Redacted    8472      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8473      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8474      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8476      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8477      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8478      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8479      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8480      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8481      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8482      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8483      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK       Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                              Document    Page 266 of 802

  Redacted       8485      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Parting. Inc.   8487      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 267 of 802

 Redacted    8510      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                   Document    Page 268 of 802

     Redacted         8525      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Benjamin Murken LLC   8528      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 272 of 802

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 Redacted    8606      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8607      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8608      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8609      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8610      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8611      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8612      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8613      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8615      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8618      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8619      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK        Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                               Document    Page 273 of 802

  Redacted        8620      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                           affected by this objection because those funds are not property of the estate; any
                                                           claims for funds you may have related to BIA or retail loan collateral are not
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  Redacted        8621      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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  Redacted        8622      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                           affected by this objection because those funds are not property of the estate; any
                                                           claims for funds you may have related to BIA or retail loan collateral are not
                                                           impacted by this objection.

Custom SLR, LLC   8623      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                           affected by this objection because those funds are not property of the estate; any
                                                           claims for funds you may have related to BIA or retail loan collateral are not
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  Redacted        8625      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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  Redacted        8626      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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  Redacted        8627      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted       8631      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted       8632      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted       8633      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted       8634      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted       8635      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted       8637      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted       8640      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Case 22-19361-MBK               Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                       Document    Page 274 of 802

Gurin Holdings Trust      8641      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                   affected by this objection because those funds are not property of the estate; any
                                                                   claims for funds you may have related to BIA or retail loan collateral are not
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      Redacted            8643      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted            8644      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted            8647      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted            8648      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                   affected by this objection because those funds are not property of the estate; any
                                                                   claims for funds you may have related to BIA or retail loan collateral are not
                                                                   impacted by this objection.

Jr Auto Collection, LLC   8649      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                   affected by this objection because those funds are not property of the estate; any
                                                                   claims for funds you may have related to BIA or retail loan collateral are not
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      Redacted            8652      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted            8654      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted            8655      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted            8656      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted            8657      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted            8658      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 275 of 802

 Redacted    8662      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8664      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8668      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8669      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8670      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8673      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8674      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8680      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 276 of 802

 Redacted    8681      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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 Redacted    8682      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8684      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8685      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8686      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8688      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8690      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8700      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 277 of 802

 Redacted    8701      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8702      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8703      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8704      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8706      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8707      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8711      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8712      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8714      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK            Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                   Document    Page 278 of 802

Digital Lioness LLC   8717      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
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    Redacted          8718      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted          8720      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted          8724      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Catcar HSA, LLC      8725      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 279 of 802

 Redacted    8733      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 280 of 802

 Redacted    8761      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 281 of 802

 Redacted    8779      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 282 of 802

 Redacted    8796      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8800      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8801      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8802      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8804      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8810      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8812      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8813      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK      Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                             Document    Page 283 of 802

  Redacted      8814      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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  Redacted      8815      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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  Redacted      8817      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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  Redacted      8820      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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  Redacted      8821      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 BC Solutions   8829      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 284 of 802

 Redacted    8835      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 285 of 802

 Redacted    8854      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 286 of 802

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                          Document    Page 287 of 802

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                          Document    Page 288 of 802

 Redacted    8910      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 289 of 802

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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 291 of 802

 Redacted    8969      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 292 of 802

 Redacted    8990      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9001      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9002      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9003      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9004      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9007      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9011      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 293 of 802

 Redacted    9012      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9013      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9015      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9016      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9017      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9018      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9020      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9021      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9022      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9025      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9027      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9028      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9030      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9031      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 294 of 802

 Redacted    9034      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 295 of 802

 Redacted    9051      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9072      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9078      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9079      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9080      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9081      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9082      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9083      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9084      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9085      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9089      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 297 of 802

 Redacted    9091      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9092      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9094      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9097      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9099      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9100      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9101      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9102      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9104      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 298 of 802

 Redacted    9110      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 299 of 802

 Redacted    9131      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 300 of 802

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                          Document    Page 302 of 802

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                          Document    Page 303 of 802

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 Redacted    9220      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 304 of 802

 Redacted    9236      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK         Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                Document    Page 305 of 802

   Redacted        9254      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Sterling Medical   9268      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 306 of 802

 Redacted    9272      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 307 of 802

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                          Document    Page 308 of 802

 Redacted    9312      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 309 of 802

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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 310 of 802

 Redacted    9358      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 311 of 802

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 BBBY Ltd.   9390      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 312 of 802

 Redacted    9401      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9404      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 313 of 802

 Redacted    9424      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 314 of 802

 Redacted    9450      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 315 of 802

 Redacted    9470      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9489      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9490      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 316 of 802

 Redacted    9493      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9497      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9500      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9502      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9503      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9504      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9506      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9510      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9513      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9515      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 317 of 802

 Redacted    9516      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9518      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9519      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9520      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9521      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9522      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9525      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9527      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9529      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9530      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9531      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9532      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9534      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 318 of 802

 Redacted    9537      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 319 of 802

 Redacted    9557      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 320 of 802

 Redacted    9578      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9580      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 321 of 802

 Redacted    9607      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 322 of 802

 Redacted    9636      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 324 of 802

 Redacted    9735      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 329 of 802

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                          Document    Page 330 of 802

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                          Document    Page 331 of 802

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                          Document    Page 332 of 802

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                          Document    Page 333 of 802

 Redacted    9921      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                          Document    Page 334 of 802

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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 335 of 802

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                           Document    Page 336 of 802

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                           Document    Page 337 of 802

 Redacted    10001      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 341 of 802

 Redacted    10091      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 342 of 802

 Redacted    10114      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 343 of 802

 Redacted    10136      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 346 of 802

 Redacted    10197      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10200      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10201      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10202      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10204      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10206      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10213      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10215      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 347 of 802

 Redacted    10216      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    10217      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10218      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10219      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10221      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10222      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10223      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10224      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10225      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10226      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10229      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10231      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10232      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10234      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK        Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                               Document    Page 348 of 802

  Redacted       10235      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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  Redacted       10236      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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  Redacted       10238      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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  Redacted       10239      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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  Redacted       10240      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                           claims for funds you may have related to BIA or retail loan collateral are not
                                                           impacted by this objection.

 Akvelon, Inc.   10242      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                           affected by this objection because those funds are not property of the estate; any
                                                           claims for funds you may have related to BIA or retail loan collateral are not
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  Redacted       10243      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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  Redacted       10244      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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  Redacted       10245      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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  Redacted       10247      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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  Redacted       10249      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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  Redacted       10251      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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  Redacted       10252      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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  Redacted       10253      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 349 of 802

 Redacted    10254      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10255      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10258      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10259      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10260      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10261      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10263      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10266      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10269      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10270      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10272      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10274      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10275      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10276      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10277      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 350 of 802

 Redacted    10278      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10279      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10280      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10281      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10284      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10285      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10287      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10288      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10289      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10293      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10294      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10295      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10296      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10297      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 351 of 802

 Redacted    10298      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    10299      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10300      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10301      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10302      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10303      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10304      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10305      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10306      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10309      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    10310      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10312      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10313      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10314      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10315      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 352 of 802

 Redacted    10316      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10318      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10322      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10323      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10324      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10325      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10326      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10327      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10330      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10332      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10333      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10334      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10335      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10336      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10337      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 353 of 802

 Redacted    10341      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10344      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10348      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10350      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10351      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10352      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10353      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10357      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10358      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10365      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10372      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10377      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10378      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10379      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10380      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 354 of 802

 Redacted    10382      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    10383      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10384      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10385      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10389      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10390      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10392      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10394      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10396      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10397      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10398      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10400      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10401      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10402      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10404      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 355 of 802

 Redacted    10405      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10406      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10407      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10408      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10410      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10411      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10412      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10413      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10414      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10416      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10418      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10419      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10425      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10426      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10428      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 356 of 802

 Redacted    10430      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10433      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10434      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10436      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10437      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10440      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10441      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10448      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 357 of 802

 Redacted    10450      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10451      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10459      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10460      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10464      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 358 of 802

 Redacted    10471      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10480      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10482      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10483      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 359 of 802

 Redacted    10527      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10534      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10536      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10541      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10544      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10546      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 360 of 802

 Redacted    10559      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 361 of 802

 Redacted    10579      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10582      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10596      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK           Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                  Document    Page 362 of 802

   Redacted         10598      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                              affected by this objection because those funds are not property of the estate; any
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   Redacted         10601      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted         10605      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted         10607      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted         10608      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted         10611      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted         10614      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted         10619      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted         10620      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted         10622      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Jacobs Mining LLC   10624      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted         10629      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 363 of 802

 Redacted    10630      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    10632      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10634      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10635      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10636      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10642      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10643      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10646      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10647      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 364 of 802

 Redacted    10650      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10711      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 365 of 802

 Redacted    10712      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10713      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10714      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10715      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10717      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10718      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10719      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10720      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10721      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    10722      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    10723      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    10725      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    10726      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    10727      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10877      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 366 of 802

 Redacted    10878      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    10895      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10900      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    10907      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    10919      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10922      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10923      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10951      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10953      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10957      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10958      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10961      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10963      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10964      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10966      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 367 of 802

 Redacted    10967      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    10969      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10970      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10971      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10973      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10976      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10977      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11106      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    11127      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    11130      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    11135      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    11156      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    11171      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    11204      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    11210      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 368 of 802

 Redacted    11308      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    11311      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11316      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11321      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11322      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11323      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11324      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11325      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11326      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11328      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11329      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11330      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11332      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11334      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11336      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 369 of 802

 Redacted    11337      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    11338      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11339      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11341      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11342      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11346      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11349      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11353      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11356      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11357      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    11358      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    11360      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11361      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11362      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11363      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 370 of 802

 Redacted    11364      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11365      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11366      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11367      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11369      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11370      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11374      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11376      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11377      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11382      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11383      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11384      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    11385      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11387      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    11388      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 371 of 802

 Redacted    11389      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    11391      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11393      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11395      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11396      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11397      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11398      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    11400      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11403      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11404      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    11407      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11409      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    11410      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    11414      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11417      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 372 of 802

 Redacted    11421      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    11422      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11423      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11424      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11427      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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                           Document    Page 373 of 802

 Redacted    11447      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 374 of 802

 Redacted    11469      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11480      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11482      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11488      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                    Document    Page 375 of 802

     Redacted         11495      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

     Redacted         11502      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
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     Redacted         11509      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
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Benjamin Murken LLC   11511      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
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     Redacted         11512      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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     Redacted         11514      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                                claims for funds you may have related to BIA or retail loan collateral are not
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     Redacted         11515      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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     Redacted         11516      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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     Redacted         11517      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
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     Redacted         11518      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
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     Redacted         11520      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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     Redacted         11522      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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     Redacted         11523      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 376 of 802

 Redacted    11524      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    11526      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 377 of 802

 Redacted    11547      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11577      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 378 of 802

 Redacted    11579      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    11582      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    11583      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    11590      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11594      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11598      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11599      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11601      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11603      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    11604      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    11605      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    11607      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    11608      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11611      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11612      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK            Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                   Document    Page 379 of 802

    Redacted         11613      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

    Redacted         11614      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
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    Redacted         11615      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
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                                                               impacted by this objection.

    Redacted         11619      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
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    Redacted         11621      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted         11622      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
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    Redacted         11625      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
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    Redacted         11626      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
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    Redacted         11627      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
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    Redacted         11628      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

    Redacted         11631      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

Benchmark Ventures   11632      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
       LLC                                                     affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

    Redacted         11633      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

    Redacted         11637      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted         11640      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK           Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                  Document    Page 380 of 802

    Redacted        11641      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                              affected by this objection because those funds are not property of the estate; any
                                                              claims for funds you may have related to BIA or retail loan collateral are not
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    Redacted        11643      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                              affected by this objection because those funds are not property of the estate; any
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    Redacted        11644      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted        11647      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted        11648      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted        11649      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted        11650      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                              affected by this objection because those funds are not property of the estate; any
                                                              claims for funds you may have related to BIA or retail loan collateral are not
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Norman and Ursula   11651      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
  Ishikawa Trust                                              affected by this objection because those funds are not property of the estate; any
                                                              claims for funds you may have related to BIA or retail loan collateral are not
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    Redacted        11652      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted        11655      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted        11656      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted        11657      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted        11658      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted        11660      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 381 of 802

 Redacted    11661      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11662      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11664      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11665      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11667      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11668      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11670      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11671      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11673      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11674      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11675      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11676      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11678      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 382 of 802

 Redacted    11679      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    11681      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    11683      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11684      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    11688      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    11691      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    11692      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11695      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11696      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11698      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11699      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11701      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11702      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 383 of 802

 Redacted    11704      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    11705      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11706      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11707      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11708      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11709      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    11710      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    11711      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11712      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11713      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11714      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11715      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11716      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    11717      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11718      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Case 22-19361-MBK              Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                      Document    Page 384 of 802

     Redacted           11719      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
                                                                  claims for funds you may have related to BIA or retail loan collateral are not
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     Redacted           11722      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                                  claims for funds you may have related to BIA or retail loan collateral are not
                                                                  impacted by this objection.

     Redacted           11724      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
                                                                  claims for funds you may have related to BIA or retail loan collateral are not
                                                                  impacted by this objection.

     Redacted           11727      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
                                                                  claims for funds you may have related to BIA or retail loan collateral are not
                                                                  impacted by this objection.

     Redacted           11728      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
                                                                  claims for funds you may have related to BIA or retail loan collateral are not
                                                                  impacted by this objection.

     Redacted           11729      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
                                                                  claims for funds you may have related to BIA or retail loan collateral are not
                                                                  impacted by this objection.

     Redacted           11730      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
                                                                  claims for funds you may have related to BIA or retail loan collateral are not
                                                                  impacted by this objection.

     Redacted           11733      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
                                                                  claims for funds you may have related to BIA or retail loan collateral are not
                                                                  impacted by this objection.

     Redacted           11734      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
                                                                  claims for funds you may have related to BIA or retail loan collateral are not
                                                                  impacted by this objection.

     Redacted           11736      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
                                                                  claims for funds you may have related to BIA or retail loan collateral are not
                                                                  impacted by this objection.

     Redacted           11737      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
                                                                  claims for funds you may have related to BIA or retail loan collateral are not
                                                                  impacted by this objection.

     Redacted           11739      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
                                                                  claims for funds you may have related to BIA or retail loan collateral are not
                                                                  impacted by this objection.

Pearl Enterprises LLC   11741      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
                                                                  claims for funds you may have related to BIA or retail loan collateral are not
                                                                  impacted by this objection.

     Redacted           11743      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
                                                                  claims for funds you may have related to BIA or retail loan collateral are not
                                                                  impacted by this objection.

     Redacted           11744      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
                                                                  claims for funds you may have related to BIA or retail loan collateral are not
                                                                  impacted by this objection.
Case 22-19361-MBK            Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                   Document    Page 385 of 802

    Redacted         11745      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

    Redacted         11746      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

    Redacted         11748      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

    Redacted         11751      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

    Redacted         11753      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

    Redacted         11754      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

    Redacted         11756      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

    Redacted         11757      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

    Redacted         11758      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

    Redacted         11760      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

    Redacted         11765      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

    Redacted         11766      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

    Redacted         11768      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

    Redacted         11771      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

Value Holdings and   11772      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
 Investments LLC                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.
Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 386 of 802

 Redacted    11773      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    11774      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    11776      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    11777      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    11778      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    11779      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    11780      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    11781      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    11782      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    11783      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    11786      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    11787      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    11789      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    11790      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    11791      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.
  Case 22-19361-MBK               Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                        Document    Page 387 of 802

      Redacted            11794      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                    affected by this objection because those funds are not property of the estate; any
                                                                    claims for funds you may have related to BIA or retail loan collateral are not
                                                                    impacted by this objection.

      Redacted            11795      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                    affected by this objection because those funds are not property of the estate; any
                                                                    claims for funds you may have related to BIA or retail loan collateral are not
                                                                    impacted by this objection.

      Redacted            11797      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                    affected by this objection because those funds are not property of the estate; any
                                                                    claims for funds you may have related to BIA or retail loan collateral are not
                                                                    impacted by this objection.

      Redacted            11800      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                    affected by this objection because those funds are not property of the estate; any
                                                                    claims for funds you may have related to BIA or retail loan collateral are not
                                                                    impacted by this objection.

      Redacted            11801      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                    affected by this objection because those funds are not property of the estate; any
                                                                    claims for funds you may have related to BIA or retail loan collateral are not
                                                                    impacted by this objection.

      Redacted            11802      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                    affected by this objection because those funds are not property of the estate; any
                                                                    claims for funds you may have related to BIA or retail loan collateral are not
                                                                    impacted by this objection.

      Redacted            11804      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                    affected by this objection because those funds are not property of the estate; any
                                                                    claims for funds you may have related to BIA or retail loan collateral are not
                                                                    impacted by this objection.

      Redacted            11805      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                    affected by this objection because those funds are not property of the estate; any
                                                                    claims for funds you may have related to BIA or retail loan collateral are not
                                                                    impacted by this objection.

      Redacted            11807      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                    affected by this objection because those funds are not property of the estate; any
                                                                    claims for funds you may have related to BIA or retail loan collateral are not
                                                                    impacted by this objection.

      Redacted            11808      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                    affected by this objection because those funds are not property of the estate; any
                                                                    claims for funds you may have related to BIA or retail loan collateral are not
                                                                    impacted by this objection.

      Redacted            11810      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                    affected by this objection because those funds are not property of the estate; any
                                                                    claims for funds you may have related to BIA or retail loan collateral are not
                                                                    impacted by this objection.

      Redacted            11814      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                    affected by this objection because those funds are not property of the estate; any
                                                                    claims for funds you may have related to BIA or retail loan collateral are not
                                                                    impacted by this objection.

      Redacted            11816      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                    affected by this objection because those funds are not property of the estate; any
                                                                    claims for funds you may have related to BIA or retail loan collateral are not
                                                                    impacted by this objection.

      Redacted            11823      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                    affected by this objection because those funds are not property of the estate; any
                                                                    claims for funds you may have related to BIA or retail loan collateral are not
                                                                    impacted by this objection.

Kustom Ag Services, LLC   11824      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                    affected by this objection because those funds are not property of the estate; any
                                                                    claims for funds you may have related to BIA or retail loan collateral are not
                                                                    impacted by this objection.
 Case 22-19361-MBK             Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                     Document    Page 388 of 802

     Redacted          11825      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted          11826      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted          11833      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted          11841      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted          11844      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted          11871      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted          11954      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted          11956      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted          11960      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted          11963      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

Edge of Company, Inc   11969      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted          11970      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted          11971      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted          11974      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted          11975      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
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 Case 22-19361-MBK             Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                     Document    Page 389 of 802

     Redacted          11976      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted          11977      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted          11978      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted          11979      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted          11981      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

  Southland Digital    11983      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
Investment Partners,                                             affected by this objection because those funds are not property of the estate; any
        LLC                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted          11984      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted          11985      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted          11987      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted          11989      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted          11992      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted          11994      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted          11995      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted          11996      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted          11997      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 390 of 802

 Redacted    11998      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12002      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12003      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12004      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12006      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12008      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12009      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12010      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12011      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12012      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12013      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12014      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12015      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12016      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12017      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.
 Case 22-19361-MBK            Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                    Document    Page 391 of 802

     Redacted         12018      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

     Redacted         12019      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

     Redacted         12022      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

     Redacted         12025      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

Simpson Development   12026      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
        LLC                                                     affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

     Redacted         12027      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

     Redacted         12028      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

     Redacted         12032      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

     Redacted         12034      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

     Redacted         12040      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

     Redacted         12041      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

     Redacted         12042      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

     Redacted         12045      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

     Redacted         12046      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

     Redacted         12047      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 392 of 802

 Redacted    12049      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12050      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12051      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12052      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12053      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12054      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12055      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12057      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12060      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12063      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12065      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12066      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12067      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12068      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12069      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 393 of 802

 Redacted    12070      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12071      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12072      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12073      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12075      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12076      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12077      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12078      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12079      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12080      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12085      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12087      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12088      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12089      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12092      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 394 of 802

 Redacted    12097      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12099      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12101      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12103      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12104      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12106      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12107      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12108      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12110      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12111      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12113      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12115      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12118      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12120      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12123      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 395 of 802

 Redacted    12125      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12126      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12129      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12130      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12131      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12132      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12133      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12134      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12135      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12138      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12140      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12141      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12144      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12145      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12148      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 396 of 802

 Redacted    12151      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12152      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12153      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    12154      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    12155      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    12157      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    12158      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12159      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12160      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12162      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12163      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12164      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12165      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12167      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12168      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.
Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 397 of 802

 Redacted    12169      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12172      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12173      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12174      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12175      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12176      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12177      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12178      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12179      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12180      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12181      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12182      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12183      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12184      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12185      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 398 of 802

 Redacted    12186      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12187      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12191      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12192      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12194      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12195      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12197      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12201      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12203      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12204      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12205      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12207      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12209      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12211      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12214      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 399 of 802

 Redacted    12217      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12219      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12221      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12223      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12226      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12227      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12228      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12230      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12231      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12232      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12237      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12240      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12244      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12250      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12251      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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Case 22-19361-MBK       Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                              Document    Page 400 of 802

 PAS IRA, LLC   12252      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                          affected by this objection because those funds are not property of the estate; any
                                                          claims for funds you may have related to BIA or retail loan collateral are not
                                                          impacted by this objection.

  Redacted      12253      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                          affected by this objection because those funds are not property of the estate; any
                                                          claims for funds you may have related to BIA or retail loan collateral are not
                                                          impacted by this objection.

  Redacted      12254      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                          affected by this objection because those funds are not property of the estate; any
                                                          claims for funds you may have related to BIA or retail loan collateral are not
                                                          impacted by this objection.

  Redacted      12255      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                          affected by this objection because those funds are not property of the estate; any
                                                          claims for funds you may have related to BIA or retail loan collateral are not
                                                          impacted by this objection.

  Redacted      12257      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                          affected by this objection because those funds are not property of the estate; any
                                                          claims for funds you may have related to BIA or retail loan collateral are not
                                                          impacted by this objection.

  Redacted      12258      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                          affected by this objection because those funds are not property of the estate; any
                                                          claims for funds you may have related to BIA or retail loan collateral are not
                                                          impacted by this objection.

  Redacted      12260      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                          affected by this objection because those funds are not property of the estate; any
                                                          claims for funds you may have related to BIA or retail loan collateral are not
                                                          impacted by this objection.

  Redacted      12261      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                          affected by this objection because those funds are not property of the estate; any
                                                          claims for funds you may have related to BIA or retail loan collateral are not
                                                          impacted by this objection.

  Redacted      12262      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                          affected by this objection because those funds are not property of the estate; any
                                                          claims for funds you may have related to BIA or retail loan collateral are not
                                                          impacted by this objection.

  Redacted      12263      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                          affected by this objection because those funds are not property of the estate; any
                                                          claims for funds you may have related to BIA or retail loan collateral are not
                                                          impacted by this objection.

  Redacted      12265      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                          affected by this objection because those funds are not property of the estate; any
                                                          claims for funds you may have related to BIA or retail loan collateral are not
                                                          impacted by this objection.

  Redacted      12266      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                          affected by this objection because those funds are not property of the estate; any
                                                          claims for funds you may have related to BIA or retail loan collateral are not
                                                          impacted by this objection.

  Redacted      12269      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                          affected by this objection because those funds are not property of the estate; any
                                                          claims for funds you may have related to BIA or retail loan collateral are not
                                                          impacted by this objection.

  Redacted      12270      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                          affected by this objection because those funds are not property of the estate; any
                                                          claims for funds you may have related to BIA or retail loan collateral are not
                                                          impacted by this objection.

  Redacted      12271      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                          affected by this objection because those funds are not property of the estate; any
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  Case 22-19361-MBK               Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                        Document    Page 401 of 802

      Redacted            12274      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                    affected by this objection because those funds are not property of the estate; any
                                                                    claims for funds you may have related to BIA or retail loan collateral are not
                                                                    impacted by this objection.

      Redacted            12278      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                    affected by this objection because those funds are not property of the estate; any
                                                                    claims for funds you may have related to BIA or retail loan collateral are not
                                                                    impacted by this objection.

      Redacted            12282      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                    affected by this objection because those funds are not property of the estate; any
                                                                    claims for funds you may have related to BIA or retail loan collateral are not
                                                                    impacted by this objection.

      Redacted            12286      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                    affected by this objection because those funds are not property of the estate; any
                                                                    claims for funds you may have related to BIA or retail loan collateral are not
                                                                    impacted by this objection.

      Redacted            12289      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                    affected by this objection because those funds are not property of the estate; any
                                                                    claims for funds you may have related to BIA or retail loan collateral are not
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      Redacted            12290      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                    affected by this objection because those funds are not property of the estate; any
                                                                    claims for funds you may have related to BIA or retail loan collateral are not
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      Redacted            12295      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                    affected by this objection because those funds are not property of the estate; any
                                                                    claims for funds you may have related to BIA or retail loan collateral are not
                                                                    impacted by this objection.

      Redacted            12296      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                    affected by this objection because those funds are not property of the estate; any
                                                                    claims for funds you may have related to BIA or retail loan collateral are not
                                                                    impacted by this objection.

      Redacted            12297      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                    affected by this objection because those funds are not property of the estate; any
                                                                    claims for funds you may have related to BIA or retail loan collateral are not
                                                                    impacted by this objection.

      Redacted            12304      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                    affected by this objection because those funds are not property of the estate; any
                                                                    claims for funds you may have related to BIA or retail loan collateral are not
                                                                    impacted by this objection.

      Redacted            12308      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                    affected by this objection because those funds are not property of the estate; any
                                                                    claims for funds you may have related to BIA or retail loan collateral are not
                                                                    impacted by this objection.

      Redacted            12324      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                    affected by this objection because those funds are not property of the estate; any
                                                                    claims for funds you may have related to BIA or retail loan collateral are not
                                                                    impacted by this objection.

      Redacted            12333      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                    affected by this objection because those funds are not property of the estate; any
                                                                    claims for funds you may have related to BIA or retail loan collateral are not
                                                                    impacted by this objection.

      Redacted            12336      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                    affected by this objection because those funds are not property of the estate; any
                                                                    claims for funds you may have related to BIA or retail loan collateral are not
                                                                    impacted by this objection.

Govred Technology, Inc.   12337      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                    affected by this objection because those funds are not property of the estate; any
                                                                    claims for funds you may have related to BIA or retail loan collateral are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 402 of 802

 Redacted    12339      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12341      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12347      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12357      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12363      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12366      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12399      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12400      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12402      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12405      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12409      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12420      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12424      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12440      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12446      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 403 of 802

 Redacted    12454      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12460      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12470      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12478      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12500      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12509      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12514      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12516      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12520      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12527      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12568      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12569      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12570      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12571      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    12572      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 404 of 802

 Redacted    12574      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12575      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12596      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12613      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12615      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12616      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12617      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12618      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12620      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    12624      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12630      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12634      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12637      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12638      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    12640      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 405 of 802

 Redacted    12641      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12643      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12647      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12648      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    12649      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    12651      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    12653      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    12654      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    12655      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    12659      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    12660      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    12661      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    12662      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    12670      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    12671      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 406 of 802

 Redacted    12674      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12678      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12679      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12682      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12684      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    12686      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12688      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12693      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12698      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12701      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12703      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12706      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    12707      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    12716      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    12717      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 407 of 802

 Redacted    12718      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    12719      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12721      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12722      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12723      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    12728      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    12730      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    12736      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    12751      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    12754      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    12755      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    12765      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    12769      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    12778      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    12779      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 408 of 802

 Redacted    12783      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    12784      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    12797      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    12805      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    12820      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    12832      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    12841      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    12845      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    12852      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    12860      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    12868      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    12869      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    12873      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    12874      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    12875      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 409 of 802

 Redacted    12876      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12877      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12878      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12880      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12881      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12883      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12885      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    12886      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    12887      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    12888      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    12889      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    12890      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    12892      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    12899      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 410 of 802

 Redacted    12902      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    12903      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    12907      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    12908      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    12909      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    12912      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12915      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12916      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12917      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12918      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12919      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12933      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12947      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12950      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12958      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 411 of 802

 Redacted    12961      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12963      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12964      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12965      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    12967      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12968      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12969      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    12976      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12981      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12983      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    13001      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    13010      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    13012      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    13013      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    13014      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 412 of 802

 Redacted    13015      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    13018      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    13020      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    13022      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    13025      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    13026      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    13033      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    13048      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    13049      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13051      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    13052      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13054      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13057      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    13058      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13059      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK          Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                 Document    Page 413 of 802

   Redacted        13061      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                             affected by this objection because those funds are not property of the estate; any
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   Redacted        13062      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                             affected by this objection because those funds are not property of the estate; any
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   Redacted        13064      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted        13066      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted        13068      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted        13069      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted        13070      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                             affected by this objection because those funds are not property of the estate; any
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Gray Spear Trust   13071      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                             affected by this objection because those funds are not property of the estate; any
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   Redacted        13073      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted        13074      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted        13075      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted        13078      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted        13079      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                             affected by this objection because those funds are not property of the estate; any
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   Redacted        13082      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted        13084      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 414 of 802

 Redacted    13086      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    13089      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13091      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13092      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13093      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13095      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    13102      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    13106      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13109      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    13113      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    13115      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    13119      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    13123      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    13127      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13128      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 415 of 802

 Redacted    13130      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    13131      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    13132      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13134      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13135      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13139      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13140      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13142      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13144      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13146      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13149      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13154      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13155      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13156      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 416 of 802

 Redacted    13159      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13167      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13168      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13175      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13180      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13181      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13182      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13184      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13186      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13188      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13189      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 417 of 802

 Redacted    13192      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13196      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13200      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13201      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13203      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13204      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13205      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13207      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13210      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13211      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13212      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13213      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13214      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13219      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 418 of 802

 Redacted    13220      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13221      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13224      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13225      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13226      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 419 of 802

 Redacted    13239      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13247      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13249      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13253      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13254      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13256      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13257      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13261      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 420 of 802

 Redacted    13270      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13288      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 421 of 802

 Redacted    13298      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13301      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13302      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13304      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    13308      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    13310      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13312      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13314      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13315      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13317      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13318      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    13320      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    13322      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 422 of 802

 Redacted    13325      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    13327      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    13330      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    13335      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13336      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13337      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13339      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13341      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13343      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13347      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13348      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13349      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13350      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13351      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13352      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 423 of 802

 Redacted    13353      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13354      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13355      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13356      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13357      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13359      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13360      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13361      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13363      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13364      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13366      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13369      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13371      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13372      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13373      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 424 of 802

 Redacted    13378      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13379      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13380      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13386      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13387      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13390      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13391      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13397      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13398      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13401      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13406      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13407      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13409      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13412      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13413      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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  Case 22-19361-MBK              Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                       Document    Page 425 of 802

      Redacted           13415      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                   affected by this objection because those funds are not property of the estate; any
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      Redacted           13417      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                   affected by this objection because those funds are not property of the estate; any
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      Redacted           13419      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted           13421      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted           13422      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted           13425      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted           13428      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted           13429      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted           13430      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted           13433      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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GH Blockchain Holdings   13436      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
         LLC                                                       affected by this objection because those funds are not property of the estate; any
                                                                   claims for funds you may have related to BIA or retail loan collateral are not
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      Redacted           13437      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted           13438      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted           13442      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted           13443      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 426 of 802

 Redacted    13444      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    13449      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13458      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13480      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13486      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 427 of 802

 Redacted    13487      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13492      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13501      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13508      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13520      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 428 of 802

 Redacted    13521      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13528      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 429 of 802

 Redacted    13555      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13561      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13608      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13628      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13634      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13644      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Case 22-19361-MBK                Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                        Document    Page 430 of 802

      Redacted            13648      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted            13652      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted            13668      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Sovereign Utilities LLC   13669      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted            13676      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted            13680      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted            13681      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 431 of 802

 Redacted    13686      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 432 of 802

 Redacted    13731      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 433 of 802

 Redacted    13765      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13791      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    13794      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    13797      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.
Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 434 of 802

 Redacted    13800      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    13801      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    13802      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    13804      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    13806      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    13807      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    13810      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    13812      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    13813      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    13814      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    13816      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    13817      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    13819      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    13820      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    13822      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Case 22-19361-MBK              Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                      Document    Page 435 of 802

     Redacted           13824      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
                                                                  claims for funds you may have related to BIA or retail loan collateral are not
                                                                  impacted by this objection.

     Redacted           13826      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
                                                                  claims for funds you may have related to BIA or retail loan collateral are not
                                                                  impacted by this objection.

     Redacted           13827      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
                                                                  claims for funds you may have related to BIA or retail loan collateral are not
                                                                  impacted by this objection.

     Redacted           13831      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
                                                                  claims for funds you may have related to BIA or retail loan collateral are not
                                                                  impacted by this objection.

     Redacted           13832      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
                                                                  claims for funds you may have related to BIA or retail loan collateral are not
                                                                  impacted by this objection.

     Redacted           13833      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
                                                                  claims for funds you may have related to BIA or retail loan collateral are not
                                                                  impacted by this objection.

     Redacted           13835      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
                                                                  claims for funds you may have related to BIA or retail loan collateral are not
                                                                  impacted by this objection.

     Redacted           13836      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
                                                                  claims for funds you may have related to BIA or retail loan collateral are not
                                                                  impacted by this objection.

PM Enterprises LLC      13842      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
                                                                  claims for funds you may have related to BIA or retail loan collateral are not
                                                                  impacted by this objection.

     Redacted           13843      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
                                                                  claims for funds you may have related to BIA or retail loan collateral are not
                                                                  impacted by this objection.

     Redacted           13846      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
                                                                  claims for funds you may have related to BIA or retail loan collateral are not
                                                                  impacted by this objection.

     Redacted           13852      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
                                                                  claims for funds you may have related to BIA or retail loan collateral are not
                                                                  impacted by this objection.

     Redacted           13855      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
                                                                  claims for funds you may have related to BIA or retail loan collateral are not
                                                                  impacted by this objection.

     Redacted           13858      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
                                                                  claims for funds you may have related to BIA or retail loan collateral are not
                                                                  impacted by this objection.

Take Charge Staffing,   13860      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
        LLC                                                       affected by this objection because those funds are not property of the estate; any
                                                                  claims for funds you may have related to BIA or retail loan collateral are not
                                                                  impacted by this objection.
Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 436 of 802

 Redacted    13862      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    13864      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    13866      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    13868      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    13870      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    13871      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    13872      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    13873      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    13876      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    13877      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    13880      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    13881      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    13883      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13884      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13886      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 437 of 802

 Redacted    13899      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    13902      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    13905      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    13907      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    13912      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    13916      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    13919      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    13922      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    13924      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    13927      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    13929      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    13930      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    13932      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    13934      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    13936      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK      Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                             Document    Page 438 of 802

 Redacted      13937      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                         affected by this objection because those funds are not property of the estate; any
                                                         claims for funds you may have related to BIA or retail loan collateral are not
                                                         impacted by this objection.

 Redacted      13938      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                         affected by this objection because those funds are not property of the estate; any
                                                         claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted      13941      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                         affected by this objection because those funds are not property of the estate; any
                                                         claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted      13945      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                         affected by this objection because those funds are not property of the estate; any
                                                         claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted      13948      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                         affected by this objection because those funds are not property of the estate; any
                                                         claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted      13949      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                         affected by this objection because those funds are not property of the estate; any
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 Redacted      13953      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                         affected by this objection because those funds are not property of the estate; any
                                                         claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted      13956      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                         affected by this objection because those funds are not property of the estate; any
                                                         claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted      13962      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                         affected by this objection because those funds are not property of the estate; any
                                                         claims for funds you may have related to BIA or retail loan collateral are not
                                                         impacted by this objection.

 Cerotid Inc   13963      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                         affected by this objection because those funds are not property of the estate; any
                                                         claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted      13965      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                         affected by this objection because those funds are not property of the estate; any
                                                         claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted      13966      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                         affected by this objection because those funds are not property of the estate; any
                                                         claims for funds you may have related to BIA or retail loan collateral are not
                                                         impacted by this objection.

 Redacted      13968      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                         affected by this objection because those funds are not property of the estate; any
                                                         claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted      13969      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                         affected by this objection because those funds are not property of the estate; any
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 Redacted      13974      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 439 of 802

 Redacted    13975      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    13977      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    13978      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    13981      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    13983      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    13984      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    13985      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    13989      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    13993      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    13994      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    13995      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    13997      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    13999      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    14001      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    14003      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 440 of 802

 Redacted    14004      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    14005      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    14006      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    14007      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    14008      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    14011      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    14012      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    14013      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    14014      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    14015      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    14019      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    14020      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    14021      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    14022      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    14025      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 441 of 802

 Redacted    14026      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    14027      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    14029      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    14030      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    14031      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    14032      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14033      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    14038      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14042      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    14044      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    14045      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    14046      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    14047      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    14049      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    14053      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 442 of 802

 Redacted    14054      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    14056      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14058      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14061      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14062      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14063      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14065      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14067      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14073      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14076      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14078      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14079      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14083      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14084      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14085      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 443 of 802

 Redacted    14088      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    14089      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14092      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14093      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14095      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14101      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14104      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14107      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14109      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14119      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14122      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14125      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14126      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14134      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14136      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14138      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    14144      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14149      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14152      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14153      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14154      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14157      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14158      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14159      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14165      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14168      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14173      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14179      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14184      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14185      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 445 of 802

 Redacted    14186      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14190      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14192      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14193      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14197      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14199      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14200      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14204      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14205      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14207      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14209      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14212      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    14213      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14214      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14215      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 446 of 802

 Redacted    14217      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14220      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14222      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14227      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    14229      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14235      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14236      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14241      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14242      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14243      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14244      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14245      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14247      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14248      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14249      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 447 of 802

 Redacted    14250      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    14254      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    14256      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    14261      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    14263      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    14266      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    14269      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    14271      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14273      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14277      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    14287      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    14289      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    14291      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    14292      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    14309      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Case 22-19361-MBK             Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                     Document    Page 448 of 802

     Redacted          14310      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted          14318      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted          14319      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted          14320      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted          14321      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted          14322      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
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                                                                 impacted by this objection.

     Redacted          14323      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
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                                                                 impacted by this objection.

     Redacted          14324      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

Equi Growth Fund, LP   14326      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted          14327      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                                 impacted by this objection.

     Redacted          14328      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                                 impacted by this objection.

     Redacted          14331      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                                 impacted by this objection.

     Redacted          14333      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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     Redacted          14334      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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     Redacted          14336      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 449 of 802

 Redacted    14337      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    14340      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    14342      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    14347      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14354      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    14360      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    14362      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    14368      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    14372      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    14374      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    14386      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14387      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14389      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    14391      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14392      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK       Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                              Document    Page 450 of 802

  Redacted      14396      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                          affected by this objection because those funds are not property of the estate; any
                                                          claims for funds you may have related to BIA or retail loan collateral are not
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  Redacted      14397      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                          affected by this objection because those funds are not property of the estate; any
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  Redacted      14399      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                          affected by this objection because those funds are not property of the estate; any
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  Redacted      14400      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                          affected by this objection because those funds are not property of the estate; any
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  Redacted      14401      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                          affected by this objection because those funds are not property of the estate; any
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  Redacted      14411      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                          affected by this objection because those funds are not property of the estate; any
                                                          claims for funds you may have related to BIA or retail loan collateral are not
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  Redacted      14414      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                          affected by this objection because those funds are not property of the estate; any
                                                          claims for funds you may have related to BIA or retail loan collateral are not
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  Redacted      14416      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                          affected by this objection because those funds are not property of the estate; any
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  Redacted      14420      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                          affected by this objection because those funds are not property of the estate; any
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  Redacted      14422      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                          affected by this objection because those funds are not property of the estate; any
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  Redacted      14425      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                          affected by this objection because those funds are not property of the estate; any
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  Redacted      14427      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                          affected by this objection because those funds are not property of the estate; any
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  Redacted      14431      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                          affected by this objection because those funds are not property of the estate; any
                                                          claims for funds you may have related to BIA or retail loan collateral are not
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 BC Solutions   14434      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                          affected by this objection because those funds are not property of the estate; any
                                                          claims for funds you may have related to BIA or retail loan collateral are not
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  Redacted      14436      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 451 of 802

 Redacted    14440      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    14449      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    14455      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14456      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    14460      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    14466      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14467      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    14469      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    14473      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    14481      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    14484      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    14488      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    14490      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    14492      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    14494      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 452 of 802

 Redacted    14508      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    14509      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    14512      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14515      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14518      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14527      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14532      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14539      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14540      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14541      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14543      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14548      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14549      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14551      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14554      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 453 of 802

 Redacted    14562      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    14569      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14571      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14578      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14579      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14583      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14588      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14590      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14592      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14594      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14595      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14604      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14608      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    14614      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14615      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 454 of 802

 Redacted    14618      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    14625      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14628      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14631      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14633      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14637      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14638      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14648      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14653      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14657      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14659      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14669      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14672      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14676      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14678      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 455 of 802

 Redacted    14682      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14683      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14689      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14697      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14701      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14713      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14715      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14725      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14732      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14737      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14740      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14742      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14744      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14746      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 456 of 802

 Redacted    14749      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    14751      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14755      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14759      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14762      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14765      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14773      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14778      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14780      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14789      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14793      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14805      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14815      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14817      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14823      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 457 of 802

 Redacted    14829      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    14834      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14839      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14849      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14852      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14855      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14858      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14864      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14873      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14874      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14877      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14880      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14881      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14884      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14892      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 458 of 802

 Redacted    14893      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14906      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14907      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14910      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14913      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14930      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14933      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14936      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    14938      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    14944      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    14947      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    14956      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    14958      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.
Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 459 of 802

 Redacted    14962      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    14966      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    14969      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    14974      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    14979      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    14980      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    14983      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    14989      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    14991      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    14992      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    14994      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    14995      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    14996      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    14998      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15001      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 460 of 802

 Redacted    15002      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15003      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15005      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15007      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15010      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15012      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15017      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15022      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15027      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15029      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15036      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15038      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15040      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15059      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15068      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 461 of 802

 Redacted    15078      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15079      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15084      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15085      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15086      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15088      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15089      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15090      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15091      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15094      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15095      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15097      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15100      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15103      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15104      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 462 of 802

 Redacted    15108      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15109      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15110      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15111      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15112      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15113      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15114      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15115      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15116      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15117      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15120      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15121      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15122      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15124      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15125      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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Case 22-19361-MBK             Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                    Document    Page 463 of 802

    Redacted          15127      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

    Redacted          15128      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

    Redacted          15129      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

    Redacted          15131      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

    Redacted          15132      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

Digital Lioness LLC   15133      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

    Redacted          15134      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

    Redacted          15135      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

    Redacted          15137      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

    Redacted          15138      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

    Redacted          15139      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

    Redacted          15142      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

    Redacted          15143      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

    Redacted          15145      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

    Redacted          15146      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK     Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                            Document    Page 464 of 802

 Tvorit LLC   15147      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                        affected by this objection because those funds are not property of the estate; any
                                                        claims for funds you may have related to BIA or retail loan collateral are not
                                                        impacted by this objection.

 Redacted     15148      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                        affected by this objection because those funds are not property of the estate; any
                                                        claims for funds you may have related to BIA or retail loan collateral are not
                                                        impacted by this objection.

 Redacted     15150      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                        affected by this objection because those funds are not property of the estate; any
                                                        claims for funds you may have related to BIA or retail loan collateral are not
                                                        impacted by this objection.

 Redacted     15152      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                        affected by this objection because those funds are not property of the estate; any
                                                        claims for funds you may have related to BIA or retail loan collateral are not
                                                        impacted by this objection.

 Redacted     15153      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                        affected by this objection because those funds are not property of the estate; any
                                                        claims for funds you may have related to BIA or retail loan collateral are not
                                                        impacted by this objection.

 Redacted     15155      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                        affected by this objection because those funds are not property of the estate; any
                                                        claims for funds you may have related to BIA or retail loan collateral are not
                                                        impacted by this objection.

 Redacted     15156      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                        affected by this objection because those funds are not property of the estate; any
                                                        claims for funds you may have related to BIA or retail loan collateral are not
                                                        impacted by this objection.

 Redacted     15157      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                        affected by this objection because those funds are not property of the estate; any
                                                        claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted     15159      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                        affected by this objection because those funds are not property of the estate; any
                                                        claims for funds you may have related to BIA or retail loan collateral are not
                                                        impacted by this objection.

 Redacted     15160      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                        affected by this objection because those funds are not property of the estate; any
                                                        claims for funds you may have related to BIA or retail loan collateral are not
                                                        impacted by this objection.

 Redacted     15162      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                        affected by this objection because those funds are not property of the estate; any
                                                        claims for funds you may have related to BIA or retail loan collateral are not
                                                        impacted by this objection.

 Redacted     15163      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                        affected by this objection because those funds are not property of the estate; any
                                                        claims for funds you may have related to BIA or retail loan collateral are not
                                                        impacted by this objection.

 Redacted     15165      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                        affected by this objection because those funds are not property of the estate; any
                                                        claims for funds you may have related to BIA or retail loan collateral are not
                                                        impacted by this objection.

 Redacted     15167      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted     15169      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 465 of 802

 Redacted    15171      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    15173      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15174      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15176      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15178      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15179      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15182      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15189      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15190      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15192      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15193      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15200      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    15203      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    15214      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15215      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 466 of 802

 Redacted    15217      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    15218      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    15222      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    15232      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    15236      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    15237      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15239      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15242      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15243      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15245      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15247      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    15250      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15251      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    15253      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15254      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK            Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                   Document    Page 467 of 802

    Redacted         15256      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

    Redacted         15257      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
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    Redacted         15259      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
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                                                               impacted by this objection.

    Redacted         15260      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

    Redacted         15262      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
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    Redacted         15263      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

    Redacted         15268      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
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    Redacted         15269      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

    Redacted         15270      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

    Redacted         15272      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

Evergreen Holistic   15273      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
 Learning Center                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

    Redacted         15274      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
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    Redacted         15275      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
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    Redacted         15276      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted         15277      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 468 of 802

 Redacted    15279      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    15280      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    15281      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    15283      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15284      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15285      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15287      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15290      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15292      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    15295      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    15297      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    15299      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15300      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    15301      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    15302      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 469 of 802

 Redacted    15303      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    15306      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    15307      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15309      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    15311      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    15312      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15316      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15317      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15318      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15320      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15321      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15323      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15324      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15326      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15328      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 470 of 802

 Redacted    15329      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15332      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15333      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15334      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15335      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15336      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15337      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15338      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15339      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15343      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    15344      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    15345      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    15348      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    15349      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    15350      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 471 of 802

 Redacted    15352      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    15353      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    15354      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    15355      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    15357      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15360      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15361      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    15364      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    15367      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    15369      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    15371      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    15373      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15374      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    15375      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15376      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 472 of 802

 Redacted    15377      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    15380      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    15381      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    15382      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    15383      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    15384      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    15386      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    15390      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    15392      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    15393      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15396      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    15398      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    15399      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    15400      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    15401      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 473 of 802

 Redacted    15402      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15403      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15404      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    15405      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    15408      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    15410      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    15411      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    15412      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15414      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15416      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15417      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15419      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15420      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15423      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15424      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 474 of 802

 Redacted    15425      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    15426      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15427      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15429      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15430      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15431      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15432      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15433      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15434      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15435      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15436      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15441      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15442      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15443      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15444      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK            Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                   Document    Page 475 of 802

    Redacted         15446      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
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    Redacted         15447      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted         15448      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
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Monica Faust Huber   15449      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
 Inherited Trust                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
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    Redacted         15450      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted         15451      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted         15453      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted         15455      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted         15456      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted         15457      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted         15462      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
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    Redacted         15466      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted         15467      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
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    Redacted         15468      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted         15470      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 476 of 802

 Redacted    15471      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    15472      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15473      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15474      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15475      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15477      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15478      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15481      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    15482      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    15486      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15487      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15489      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15491      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15497      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15498      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 477 of 802

 Redacted    15499      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    15500      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15501      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15502      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15505      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15506      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15507      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15509      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15510      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15511      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15512      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15514      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15516      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15519      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 478 of 802

 Redacted    15520      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    15521      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15534      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 479 of 802

 Redacted    15543      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15571      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 480 of 802

 Redacted    15574      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15581      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15582      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15588      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 481 of 802

 Redacted    15598      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15600      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15601      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15602      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15603      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15604      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15606      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15607      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15608      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15610      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15613      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15614      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15615      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15616      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 482 of 802

 Redacted    15618      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15619      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 483 of 802

 Redacted    15640      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15645      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15651      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15653      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15660      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15661      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 484 of 802

 Redacted    15664      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15667      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15672      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 485 of 802

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 Redacted    15688      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15701      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15702      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15703      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15704      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15707      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15709      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 486 of 802

 Redacted    15713      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15716      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15719      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15720      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15723      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 487 of 802

 Redacted    15735      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15757      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15762      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15771      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15805      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15810      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 489 of 802

 Redacted    15826      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15872      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 490 of 802

 Redacted    15875      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    16755      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    16856      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    16942      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    17248      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 491 of 802

 Redacted    17589      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    17827      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    17991      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    17993      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    18173      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    18175      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    18183      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    18348      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    18393      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    18644      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    18750      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    18751      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    18752      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    18899      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 492 of 802

 Redacted    18900      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    18901      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    18903      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    18905      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    18912      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    18918      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    18926      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    18928      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    18934      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    18936      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    18940      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    18943      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    18947      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    18952      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 493 of 802

 Redacted    18953      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    18956      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    18961      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    18962      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    18964      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    18967      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    18968      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    18970      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    18972      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    18973      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    18975      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    18978      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    18979      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 494 of 802

 Redacted    18983      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    18985      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    18987      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    18990      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    18996      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    18997      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    19000      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    19001      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    19002      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    19003      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    19008      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 495 of 802

 Redacted    19012      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    19013      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    19015      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    19019      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    19020      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    19021      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    19024      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    19026      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    19027      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    19033      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    19035      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    19036      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    19041      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    19043      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    19046      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 496 of 802

 Redacted    19047      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    19048      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    19050      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    19051      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    19052      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    19053      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    19054      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    19097      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    19186      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    19243      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    19308      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    19384      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    19654      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    19720      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    19723      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 497 of 802

 Redacted    19725      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    20547      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    21002      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    21201      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    21321      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    21360      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    21362      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    22013      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    22052      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    22390      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    23258      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    23558      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    23585      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    24228      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    24606      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 498 of 802

 Redacted    24630      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    25394      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    25421      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    25493      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25496      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25542      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    25673      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25675      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25677      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25678      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25679      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25680      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25681      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25682      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25683      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 499 of 802

 Redacted    25684      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    25685      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25690      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25692      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25694      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25695      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25696      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25697      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25698      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25704      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    25707      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25708      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25709      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    25710      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    25711      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 500 of 802

 Redacted    25712      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    25713      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25714      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25715      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25716      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25717      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25718      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25719      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25720      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25721      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25722      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25723      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25724      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25725      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25728      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 501 of 802

 Redacted    25729      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25732      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25733      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25735      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25736      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25737      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25740      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25742      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25743      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25744      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25745      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25747      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25748      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25750      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25751      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 502 of 802

 Redacted    25756      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25757      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25758      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 503 of 802

 Redacted    25780      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 504 of 802

 Redacted    25803      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25804      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25810      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25812      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 505 of 802

 Redacted    25825      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 506 of 802

 Redacted    25847      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25901      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    25904      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    25905      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    25906      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    25907      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    25908      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25910      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25911      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25912      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 509 of 802

 Redacted    25913      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    25914      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25915      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25916      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25919      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25920      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25921      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25924      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25925      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25926      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25927      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25928      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25930      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25931      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25932      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 510 of 802

 Redacted    25934      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25935      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25936      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25937      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25938      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25939      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25940      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25941      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25942      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25943      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25945      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25947      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25948      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25949      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25951      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 511 of 802

 Redacted    25956      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    25963      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25965      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25967      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    25968      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25969      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25970      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25973      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25974      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25975      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25976      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25978      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25979      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25987      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25990      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 512 of 802

 Redacted    25992      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    25993      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25994      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25995      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    25999      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26001      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26002      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26007      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26008      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26009      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26010      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26012      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26013      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26014      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26015      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 513 of 802

 Redacted    26016      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26018      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26019      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26023      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26024      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26027      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26033      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26035      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26036      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26037      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26039      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26040      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26041      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26042      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26043      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 514 of 802

 Redacted    26045      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26047      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26051      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26053      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26054      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26057      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26061      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26062      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26065      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26069      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26071      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26073      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26074      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26075      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26078      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 515 of 802

 Redacted    26079      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    26080      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26081      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    26082      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26083      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26084      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26086      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26089      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    26091      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26092      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26094      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26095      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26096      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26097      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 516 of 802

 Redacted    26098      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26099      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26100      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26101      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    26102      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    26103      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    26104      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    26105      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26106      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26107      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    26108      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26110      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26111      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26112      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26114      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 517 of 802

 Redacted    26117      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26119      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26121      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26122      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26123      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26125      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26128      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26130      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26131      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26132      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26134      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26136      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26139      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26141      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26143      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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  Case 22-19361-MBK              Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                       Document    Page 518 of 802

      Redacted           26149      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                   affected by this objection because those funds are not property of the estate; any
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      Redacted           26151      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted           26153      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted           26154      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted           26155      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted           26157      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted           26158      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Ketan S. and Ameeta K.   26159      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
      Shah Trust                                                   affected by this objection because those funds are not property of the estate; any
                                                                   claims for funds you may have related to BIA or retail loan collateral are not
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      Redacted           26161      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted           26162      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted           26163      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted           26164      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted           26165      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted           26167      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 519 of 802

 Redacted    26168      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    26171      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26172      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26173      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26174      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26175      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26176      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26177      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26178      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26181      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26185      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26189      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26191      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26195      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26200      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 520 of 802

 Redacted    26201      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    26202      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    26204      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    26205      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    26206      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26207      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    26208      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    26209      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26210      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26211      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26213      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26215      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26217      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26218      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26220      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 521 of 802

 Redacted    26222      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    26223      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26225      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26227      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 522 of 802

 Redacted    26243      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26246      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26248      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26252      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26255      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26256      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26259      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26260      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26261      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26265      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26266      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26267      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26271      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26274      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 523 of 802

 Redacted    26275      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26278      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26279      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26281      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26282      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26284      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26286      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26288      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26289      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26293      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26296      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26297      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26298      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26300      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 524 of 802

 Redacted    26302      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    26303      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26304      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26305      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26306      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26308      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26309      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26310      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26311      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26312      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26316      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26317      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26326      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26328      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26330      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 525 of 802

 Redacted    26332      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    26335      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26336      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26337      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26338      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26344      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26345      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26346      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26347      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26351      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 526 of 802

 Redacted    26355      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26361      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26362      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26365      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26367      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26372      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26373      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26374      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26379      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26382      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 527 of 802

 Redacted    26383      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26384      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    26385      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26387      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26388      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26391      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26392      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26393      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26394      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26395      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26396      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26397      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26398      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26399      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26401      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 528 of 802

 Redacted    26402      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    26403      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26404      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26405      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26406      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26407      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26408      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26411      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26413      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26415      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26419      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26421      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26423      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26424      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 529 of 802

 Redacted    26433      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26434      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26435      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26436      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26451      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26452      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK               Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                      Document    Page 530 of 802

    Redacted            26455      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted            26457      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted            26459      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted            26460      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted            26462      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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self, Possibility,LLC   26471      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 531 of 802

 Redacted    26483      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    26484      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26502      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26503      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26509      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 532 of 802

 Redacted    26510      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26511      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26513      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 533 of 802

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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 534 of 802

 Redacted    26557      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 535 of 802

 Redacted    26578      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 536 of 802

 Redacted    26599      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26600      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26602      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26603      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 537 of 802

 Redacted    26617      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 538 of 802

 Redacted    26640      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 539 of 802

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 Redacted    26676      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    26677      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    26680      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    26681      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    26684      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    26686      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    26688      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 540 of 802

 Redacted    26689      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    26692      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    26694      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26696      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26697      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26698      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    26700      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    26704      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    26705      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26706      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    26709      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26710      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26711      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    26713      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26714      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 541 of 802

 Redacted    26715      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    26716      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26718      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    26719      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26721      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    26725      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26727      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26728      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26729      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26730      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26732      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26733      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26734      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26745      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26746      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 542 of 802

 Redacted    26750      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    26751      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26752      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26754      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26755      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26757      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26758      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26760      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26762      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26767      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26768      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26769      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26770      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26771      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26772      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 543 of 802

 Redacted    26773      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26775      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26776      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26777      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26779      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26781      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26782      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26783      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26784      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26785      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26786      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26793      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26795      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26796      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26797      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 544 of 802

 Redacted    26798      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26801      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26803      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26806      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26808      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26809      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26810      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26811      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26812      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26813      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26814      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26817      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26819      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26820      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26822      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 545 of 802

 Redacted    26825      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26834      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26835      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26839      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26842      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26843      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26845      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26846      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26848      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26849      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26852      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26853      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26856      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26858      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26860      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 546 of 802

 Redacted    26862      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    26863      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26866      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26868      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26871      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26872      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       impacted by this objection.

 Redacted    26875      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26876      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26877      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26879      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26882      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26883      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26885      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26888      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26890      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK            Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                   Document    Page 547 of 802

    Redacted         26892      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
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    Redacted         26893      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted         26894      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                               impacted by this objection.

    Redacted         26895      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted         26896      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                               impacted by this objection.

    Redacted         26897      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

    Redacted         26900      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

CZJS Resources LLC   26902      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

    Redacted         26903      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

    Redacted         26905      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

    Redacted         26906      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

    Redacted         26908      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                               impacted by this objection.

    Redacted         26910      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

    Redacted         26912      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

    Redacted         26914      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK          Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                 Document    Page 548 of 802

   Redacted        26915      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                             affected by this objection because those funds are not property of the estate; any
                                                             claims for funds you may have related to BIA or retail loan collateral are not
                                                             impacted by this objection.

   Redacted        26916      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                             affected by this objection because those funds are not property of the estate; any
                                                             claims for funds you may have related to BIA or retail loan collateral are not
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   Redacted        26918      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                             affected by this objection because those funds are not property of the estate; any
                                                             claims for funds you may have related to BIA or retail loan collateral are not
                                                             impacted by this objection.

   Redacted        26920      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                             affected by this objection because those funds are not property of the estate; any
                                                             claims for funds you may have related to BIA or retail loan collateral are not
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   Redacted        26922      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                             affected by this objection because those funds are not property of the estate; any
                                                             claims for funds you may have related to BIA or retail loan collateral are not
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   Redacted        26925      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                             affected by this objection because those funds are not property of the estate; any
                                                             claims for funds you may have related to BIA or retail loan collateral are not
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   Redacted        26926      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                             affected by this objection because those funds are not property of the estate; any
                                                             claims for funds you may have related to BIA or retail loan collateral are not
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   Redacted        26927      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                             affected by this objection because those funds are not property of the estate; any
                                                             claims for funds you may have related to BIA or retail loan collateral are not
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   Redacted        26928      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                             affected by this objection because those funds are not property of the estate; any
                                                             claims for funds you may have related to BIA or retail loan collateral are not
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   Redacted        26929      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                             affected by this objection because those funds are not property of the estate; any
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   Redacted        26930      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                             affected by this objection because those funds are not property of the estate; any
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   Redacted        26931      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                             affected by this objection because those funds are not property of the estate; any
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   Redacted        26933      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                             affected by this objection because those funds are not property of the estate; any
                                                             claims for funds you may have related to BIA or retail loan collateral are not
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Astronomica Inc.   26934      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                             affected by this objection because those funds are not property of the estate; any
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   Redacted        26935      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 549 of 802

 Redacted    26936      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    26937      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26941      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26942      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26944      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    26946      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26947      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26948      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26950      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26952      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26953      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26954      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26955      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26957      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26958      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 550 of 802

 Redacted    26965      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    26966      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26972      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    26975      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26977      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    26978      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    26980      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    26985      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26986      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26989      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26990      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26992      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26993      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    26996      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    26997      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 551 of 802

 Redacted    26999      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    27001      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    27005      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    27008      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    27012      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    27014      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    27017      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    27018      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    27021      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    27024      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    27025      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    27026      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    27027      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27029      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27030      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 552 of 802

 Redacted    27033      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    27034      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    27035      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    27036      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    27038      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    27039      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    27040      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    27042      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    27043      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    27044      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    27045      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    27046      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    27047      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27048      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27050      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 553 of 802

 Redacted    27053      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    27054      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27055      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27059      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27060      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27061      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27062      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27063      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    27064      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27065      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27066      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27067      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27069      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27071      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27072      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 554 of 802

 Redacted    27073      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27074      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27076      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27078      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27079      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27081      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27082      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27084      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27085      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27086      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27089      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27090      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27092      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27093      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 555 of 802

 Redacted    27094      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27095      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27097      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27098      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27103      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27106      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27107      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27110      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27111      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27112      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27113      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27115      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27117      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    27118      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27120      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 556 of 802

 Redacted    27121      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    27123      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27124      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27127      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27131      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27137      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27138      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27139      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27140      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27141      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27142      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27143      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27144      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27145      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27149      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 557 of 802

 Redacted    27152      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27154      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27156      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27157      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27158      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27160      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27163      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27164      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27167      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27168      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27169      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27170      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27172      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27173      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 558 of 802

 Redacted    27174      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27176      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27178      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27179      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27181      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27186      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27187      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27188      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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  Case 22-19361-MBK                  Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                           Document    Page 559 of 802

       Redacted              27197      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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       Redacted              27202      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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       Redacted              27204      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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       Redacted              27205      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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       Redacted              27211      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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       Redacted              27214      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Lightpoint Scientific, LLC   27217      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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       Redacted              27221      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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       Redacted              27226      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 560 of 802

 Redacted    27227      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 561 of 802

 Redacted    27245      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27262      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27263      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27267      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Case 22-19361-MBK             Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                     Document    Page 562 of 802

     Redacted          27270      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
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     Redacted          27272      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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     Redacted          27274      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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     Redacted          27275      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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     Redacted          27277      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Hagen Consulting LLC   27278      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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     Redacted          27279      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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     Redacted          27281      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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     Redacted          27282      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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     Redacted          27284      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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     Redacted          27286      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 563 of 802

 Redacted    27288      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27298      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27300      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27301      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27302      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27303      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27304      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27306      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27307      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 564 of 802

 Redacted    27309      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27311      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27314      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27317      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    27318      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    27319      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    27321      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    27325      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    27326      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27327      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27330      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27331      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27332      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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  Case 22-19361-MBK               Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                        Document    Page 565 of 802

      Redacted            27333      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                    affected by this objection because those funds are not property of the estate; any
                                                                    claims for funds you may have related to BIA or retail loan collateral are not
                                                                    impacted by this objection.

      Redacted            27334      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted            27337      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted            27338      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted            27339      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted            27341      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted            27343      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted            27344      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted            27345      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted            27346      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted            27347      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted            27348      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                    affected by this objection because those funds are not property of the estate; any
                                                                    claims for funds you may have related to BIA or retail loan collateral are not
                                                                    impacted by this objection.

Kyshabu Enterprises LLC   27349      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                    affected by this objection because those funds are not property of the estate; any
                                                                    claims for funds you may have related to BIA or retail loan collateral are not
                                                                    impacted by this objection.

      Redacted            27352      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted            27353      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK            Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                   Document    Page 566 of 802

   Redacted          27354      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

   Redacted          27355      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

Galli Family Trust   27356      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
 DTD06262020                                                   affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

   Redacted          27358      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

   Redacted          27359      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
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   Redacted          27360      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
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   Redacted          27362      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted          27363      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted          27365      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted          27366      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted          27367      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted          27372      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted          27373      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted          27374      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted          27375      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 567 of 802

 Redacted    27376      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    27377      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27378      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27379      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27380      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27381      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27385      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27386      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27387      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27388      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27389      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27390      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27391      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27392      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27393      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 568 of 802

 Redacted    27394      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    27396      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    27398      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    27399      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    27401      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    27402      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    27405      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    27406      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    27407      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    27408      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    27409      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    27411      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    27412      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27413      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27414      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 569 of 802

 Redacted    27416      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    27417      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27419      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27420      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27421      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27422      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27424      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27425      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27426      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27427      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27428      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27431      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27432      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27433      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27435      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 570 of 802

 Redacted    27436      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    27438      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27439      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27440      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27442      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27443      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27446      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27448      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27451      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27452      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK            Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                   Document    Page 571 of 802

    Redacted         27457      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted         27465      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted         27469      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted         27470      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Never Better Trust   27472      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 572 of 802

 Redacted    27480      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 573 of 802

 Redacted    27497      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27501      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27502      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27503      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27505      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27506      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27507      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27510      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27513      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27514      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27516      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27517      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27518      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27519      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27520      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 574 of 802

 Redacted    27522      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    27524      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27526      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27527      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27530      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27531      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27533      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27534      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27535      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27537      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27538      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27540      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27541      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27544      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27545      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 575 of 802

 Redacted    27546      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27549      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27551      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 576 of 802

 Redacted    27570      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27572      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27580      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27581      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27583      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27584      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27585      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27587      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 577 of 802

 Redacted    27588      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27589      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27591      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27592      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27593      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27594      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27595      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27596      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27597      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27598      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27599      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27601      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27602      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27603      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27604      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 578 of 802

 Redacted    27605      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    27607      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    27608      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    27609      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27610      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    27611      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    27612      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27613      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    27614      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27615      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27617      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    27620      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    27624      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27625      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27626      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 579 of 802

 Redacted    27627      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    27629      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27631      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27632      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27633      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27634      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27635      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27636      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27639      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27640      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27641      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27643      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27644      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27645      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27646      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 580 of 802

 Redacted    27650      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    27652      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27655      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27656      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27659      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27660      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27661      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27662      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 581 of 802

 Redacted    27667      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    27668      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27669      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27670      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27671      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27672      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27673      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27675      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27677      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27678      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27679      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27680      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    27682      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    27683      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    27684      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Case 22-19361-MBK             Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                     Document    Page 582 of 802

     Redacted          27686      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted          27688      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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     Redacted          27689      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
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Dreamtect Dental LLC   27690      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
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     Redacted          27692      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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     Redacted          27695      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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     Redacted          27698      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
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     Redacted          27699      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
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     Redacted          27701      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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     Redacted          27702      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
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     Redacted          27703      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
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     Redacted          27704      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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     Redacted          27705      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 583 of 802

 Redacted    27706      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    27707      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27709      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27710      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 584 of 802

 Redacted    27729      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 585 of 802

 Redacted    27751      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 586 of 802

 Redacted    27770      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 587 of 802

 Redacted    27791      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27803      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27806      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27807      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27811      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 588 of 802

 Redacted    27813      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27814      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27816      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27818      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27819      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27827      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27828      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 589 of 802

 Redacted    27834      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27839      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27840      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27841      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27842      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27843      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27844      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27845      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27848      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27851      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 590 of 802

 Redacted    27855      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27856      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27865      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 591 of 802

 Redacted    27878      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27879      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27880      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27883      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27885      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27887      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27888      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27892      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 592 of 802

 Redacted    27899      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27900      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27903      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27906      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27908      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27911      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27915      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27920      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27923      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK           Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                  Document    Page 593 of 802

   Redacted         27924      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                              affected by this objection because those funds are not property of the estate; any
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   Redacted         27925      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Digital Prototype   27934      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
  Systems, Inc.                                               affected by this objection because those funds are not property of the estate; any
                                                              claims for funds you may have related to BIA or retail loan collateral are not
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   Redacted         27936      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 594 of 802

 Redacted    27943      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27961      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27962      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27963      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27976      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27980      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27981      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27984      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 596 of 802

 Redacted    27988      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    27993      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28000      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28001      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28002      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28003      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28006      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28007      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28009      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 597 of 802

 Redacted    28010      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28011      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28012      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28014      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28015      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28017      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28018      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28019      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28021      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28022      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28023      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28024      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28025      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28026      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28028      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 598 of 802

 Redacted    28030      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    28031      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28032      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28033      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28034      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28037      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28038      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28040      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28042      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 599 of 802

 Redacted    28050      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28051      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28053      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28056      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28057      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28058      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28062      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28063      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 600 of 802

 Redacted    28069      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28070      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28080      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28082      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28085      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 601 of 802

 Redacted    28086      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28095      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28097      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28098      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28100      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    28101      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    28102      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    28103      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    28105      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    28106      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 602 of 802

 Redacted    28107      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    28108      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    28109      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28110      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28111      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    28112      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    28113      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    28114      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    28120      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28121      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28122      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28123      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28124      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28125      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28126      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK            Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                   Document    Page 603 of 802

    Redacted         28127      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

    Redacted         28129      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

    Redacted         28130      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

Turquoise Property   28131      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
Maintenance, LLC.                                              affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

    Redacted         28132      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

    Redacted         28133      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

    Redacted         28134      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

    Redacted         28135      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

    Redacted         28136      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

    Redacted         28137      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

    Redacted         28138      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

    Redacted         28140      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

    Redacted         28141      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
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    Redacted         28142      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted         28143      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 604 of 802

 Redacted    28144      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28146      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28147      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28148      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28150      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28152      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28153      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28154      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28155      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28157      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28158      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28159      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28160      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28161      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28162      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 605 of 802

 Redacted    28163      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    28164      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28165      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28166      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28167      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28169      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28170      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28171      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28173      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28174      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28175      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    28179      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28180      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28182      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28183      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 606 of 802

 Redacted    28184      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    28186      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28187      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28188      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28189      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28190      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28191      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28192      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28193      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28194      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28195      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28196      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28197      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28198      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28200      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 607 of 802

 Redacted    28201      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28202      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    28203      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28204      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28205      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28206      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28207      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28208      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28209      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28210      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28212      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28213      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28214      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 608 of 802

 Redacted    28218      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28344      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28346      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28348      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28350      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28353      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28357      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28361      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 615 of 802

 Redacted    28367      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28376      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28377      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28378      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28379      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28380      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28382      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 616 of 802

 Redacted    28383      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28385      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28386      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28388      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28389      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28392      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28401      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28404      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28405      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 617 of 802

 Redacted    28407      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    28408      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28409      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28410      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28411      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28412      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28413      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28414      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 618 of 802

 Redacted    28425      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    28426      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28428      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 619 of 802

 Redacted    28443      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 620 of 802

 Redacted    28460      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28465      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28466      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28468      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28469      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28471      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    28472      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28473      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28474      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28476      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28477      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28479      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 621 of 802

 Redacted    28480      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    28481      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28482      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28483      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28484      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28485      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28486      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28488      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28489      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    28490      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    28491      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    28492      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    28493      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28495      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    28496      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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Case 22-19361-MBK             Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                    Document    Page 622 of 802

     Redacted         28498      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

     Redacted         28499      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

     Redacted         28500      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

MBA Equity Partners   28501      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
       LLC                                                      affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

     Redacted         28502      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

     Redacted         28503      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

     Redacted         28504      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

     Redacted         28505      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

     Redacted         28506      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

     Redacted         28507      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

     Redacted         28508      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

     Redacted         28510      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

     Redacted         28512      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

     Redacted         28514      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

     Redacted         28518      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
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Case 22-19361-MBK               Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                      Document    Page 623 of 802

     Redacted           28519      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
                                                                  claims for funds you may have related to BIA or retail loan collateral are not
                                                                  impacted by this objection.

     Redacted           28520      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
                                                                  claims for funds you may have related to BIA or retail loan collateral are not
                                                                  impacted by this objection.

     Redacted           28521      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
                                                                  claims for funds you may have related to BIA or retail loan collateral are not
                                                                  impacted by this objection.

     Redacted           28522      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
                                                                  claims for funds you may have related to BIA or retail loan collateral are not
                                                                  impacted by this objection.

     Redacted           28523      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
                                                                  claims for funds you may have related to BIA or retail loan collateral are not
                                                                  impacted by this objection.

     Redacted           28524      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
                                                                  claims for funds you may have related to BIA or retail loan collateral are not
                                                                  impacted by this objection.

     Redacted           28525      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
                                                                  claims for funds you may have related to BIA or retail loan collateral are not
                                                                  impacted by this objection.

Skillz Construction &   28526      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
  Home Repair LLC                                                 affected by this objection because those funds are not property of the estate; any
                                                                  claims for funds you may have related to BIA or retail loan collateral are not
                                                                  impacted by this objection.

     Redacted           28527      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
                                                                  claims for funds you may have related to BIA or retail loan collateral are not
                                                                  impacted by this objection.

     Redacted           28528      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
                                                                  claims for funds you may have related to BIA or retail loan collateral are not
                                                                  impacted by this objection.

     Redacted           28529      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
                                                                  claims for funds you may have related to BIA or retail loan collateral are not
                                                                  impacted by this objection.

     Redacted           28530      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
                                                                  claims for funds you may have related to BIA or retail loan collateral are not
                                                                  impacted by this objection.

     Redacted           28531      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
                                                                  claims for funds you may have related to BIA or retail loan collateral are not
                                                                  impacted by this objection.

     Redacted           28532      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
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     Redacted           28533      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK           Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                  Document    Page 624 of 802

    Redacted        28537      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                              affected by this objection because those funds are not property of the estate; any
                                                              claims for funds you may have related to BIA or retail loan collateral are not
                                                              impacted by this objection.

    Redacted        28538      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                              affected by this objection because those funds are not property of the estate; any
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    Redacted        28539      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                              affected by this objection because those funds are not property of the estate; any
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    Redacted        28540      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                              affected by this objection because those funds are not property of the estate; any
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    Redacted        28543      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                              affected by this objection because those funds are not property of the estate; any
                                                              claims for funds you may have related to BIA or retail loan collateral are not
                                                              impacted by this objection.

Peter and Heather   28544      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
   Family Trust                                               affected by this objection because those funds are not property of the estate; any
                                                              claims for funds you may have related to BIA or retail loan collateral are not
                                                              impacted by this objection.

    Redacted        28545      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                              affected by this objection because those funds are not property of the estate; any
                                                              claims for funds you may have related to BIA or retail loan collateral are not
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    Redacted        28546      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                              affected by this objection because those funds are not property of the estate; any
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    Redacted        28547      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted        28548      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                              affected by this objection because those funds are not property of the estate; any
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    Redacted        28549      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                              affected by this objection because those funds are not property of the estate; any
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    Redacted        28551      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted        28554      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted        28555      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted        28556      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK            Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                   Document    Page 625 of 802

    Redacted         28557      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
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    Redacted         28558      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted         28560      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted         28561      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted         28562      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted         28563      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted         28565      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

Deferred 1031, LLC   28566      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

    Redacted         28567      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                               claims for funds you may have related to BIA or retail loan collateral are not
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    Redacted         28568      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted         28569      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted         28571      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted         28573      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted         28574      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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  Case 22-19361-MBK              Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                       Document    Page 626 of 802

      Redacted           28576      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                   affected by this objection because those funds are not property of the estate; any
                                                                   claims for funds you may have related to BIA or retail loan collateral are not
                                                                   impacted by this objection.

      Redacted           28577      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted           28578      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                                   impacted by this objection.

      Redacted           28579      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                   affected by this objection because those funds are not property of the estate; any
                                                                   claims for funds you may have related to BIA or retail loan collateral are not
                                                                   impacted by this objection.

      Redacted           28580      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                   affected by this objection because those funds are not property of the estate; any
                                                                   claims for funds you may have related to BIA or retail loan collateral are not
                                                                   impacted by this objection.

Topshield Ventures LLC   28582      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                   affected by this objection because those funds are not property of the estate; any
                                                                   claims for funds you may have related to BIA or retail loan collateral are not
                                                                   impacted by this objection.

      Redacted           28583      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                   affected by this objection because those funds are not property of the estate; any
                                                                   claims for funds you may have related to BIA or retail loan collateral are not
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      Redacted           28584      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted           28587      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted           28588      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted           28591      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted           28593      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 627 of 802

 Redacted    28597      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28602      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28603      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28604      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28605      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28606      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28609      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28610      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28612      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28613      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28614      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28615      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28616      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28618      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 628 of 802

 Redacted    28619      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28620      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28621      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28623      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28624      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28625      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28626      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 629 of 802

 Redacted    28639      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28642      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 630 of 802

 Redacted    28661      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28676      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28677      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28684      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 631 of 802

 Redacted    28687      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28689      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28700      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28701      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28702      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28703      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28704      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 632 of 802

 Redacted    28714      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28728      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28729      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28730      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    28731      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    28732      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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Case 22-19361-MBK        Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                               Document    Page 633 of 802

  Redacted       28733      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                           affected by this objection because those funds are not property of the estate; any
                                                           claims for funds you may have related to BIA or retail loan collateral are not
                                                           impacted by this objection.

  Redacted       28734      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                           affected by this objection because those funds are not property of the estate; any
                                                           claims for funds you may have related to BIA or retail loan collateral are not
                                                           impacted by this objection.

  Redacted       28737      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                           affected by this objection because those funds are not property of the estate; any
                                                           claims for funds you may have related to BIA or retail loan collateral are not
                                                           impacted by this objection.

  Redacted       28738      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                           affected by this objection because those funds are not property of the estate; any
                                                           claims for funds you may have related to BIA or retail loan collateral are not
                                                           impacted by this objection.

  Redacted       28739      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                           affected by this objection because those funds are not property of the estate; any
                                                           claims for funds you may have related to BIA or retail loan collateral are not
                                                           impacted by this objection.

  Redacted       28740      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                           affected by this objection because those funds are not property of the estate; any
                                                           claims for funds you may have related to BIA or retail loan collateral are not
                                                           impacted by this objection.

  Redacted       28741      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                           affected by this objection because those funds are not property of the estate; any
                                                           claims for funds you may have related to BIA or retail loan collateral are not
                                                           impacted by this objection.

  Redacted       28743      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                           affected by this objection because those funds are not property of the estate; any
                                                           claims for funds you may have related to BIA or retail loan collateral are not
                                                           impacted by this objection.

  Redacted       28744      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                           affected by this objection because those funds are not property of the estate; any
                                                           claims for funds you may have related to BIA or retail loan collateral are not
                                                           impacted by this objection.

  Redacted       28747      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                           claims for funds you may have related to BIA or retail loan collateral are not
                                                           impacted by this objection.

  Redacted       28748      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                           affected by this objection because those funds are not property of the estate; any
                                                           claims for funds you may have related to BIA or retail loan collateral are not
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  Redacted       28751      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                           affected by this objection because those funds are not property of the estate; any
                                                           claims for funds you may have related to BIA or retail loan collateral are not
                                                           impacted by this objection.

Pete's Holding   28752      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
 Corporation                                               affected by this objection because those funds are not property of the estate; any
                                                           claims for funds you may have related to BIA or retail loan collateral are not
                                                           impacted by this objection.

  Redacted       28753      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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  Redacted       28754      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 634 of 802

 Redacted    28757      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28758      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28760      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    28770      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    28776      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28778      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28779      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28781      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28782      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    28783      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28786      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28788      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28789      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28790      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28791      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 635 of 802

 Redacted    28794      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28795      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28796      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28797      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28798      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28799      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28800      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28801      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28802      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28803      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28804      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28806      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28807      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28808      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28810      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 636 of 802

 Redacted    28811      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    28812      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28815      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28816      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28817      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28818      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28819      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28820      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28821      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28822      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28823      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28824      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28825      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28826      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    28828      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK          Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                 Document    Page 637 of 802

   Redacted        28829      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                             affected by this objection because those funds are not property of the estate; any
                                                             claims for funds you may have related to BIA or retail loan collateral are not
                                                             impacted by this objection.

   Redacted        28830      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                             affected by this objection because those funds are not property of the estate; any
                                                             claims for funds you may have related to BIA or retail loan collateral are not
                                                             impacted by this objection.

Akvelon Software   28832      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
Outsourcing, LLC                                             affected by this objection because those funds are not property of the estate; any
                                                             claims for funds you may have related to BIA or retail loan collateral are not
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   Redacted        28833      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                             affected by this objection because those funds are not property of the estate; any
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   Redacted        28835      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                             affected by this objection because those funds are not property of the estate; any
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   Redacted        28836      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                             affected by this objection because those funds are not property of the estate; any
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   Redacted        28839      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                             affected by this objection because those funds are not property of the estate; any
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   Redacted        28842      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                             affected by this objection because those funds are not property of the estate; any
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   Redacted        28844      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted        28847      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                             affected by this objection because those funds are not property of the estate; any
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   Redacted        28850      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted        28851      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted        28853      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted        28854      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted        28855      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 638 of 802

 Redacted    28856      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    28857      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28859      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28860      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28862      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28866      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28868      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28869      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28870      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28871      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28872      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28873      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28874      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28875      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 639 of 802

 Redacted    28877      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    28879      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28880      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28882      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28883      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28891      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28892      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28897      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 640 of 802

 Redacted    28900      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    28903      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28904      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28906      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28907      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28908      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28909      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28911      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28913      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    28914      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28915      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28916      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28917      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28920      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28921      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK             Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                    Document    Page 641 of 802

     Redacted         28922      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

     Redacted         28924      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
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     Redacted         28925      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
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                                                                impacted by this objection.

     Redacted         28927      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
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     Redacted         28930      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
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     Redacted         28931      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

Huffman Brother Inc   28932      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
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     Redacted         28933      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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     Redacted         28934      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
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     Redacted         28936      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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     Redacted         28938      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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     Redacted         28940      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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     Redacted         28943      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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     Redacted         28945      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 642 of 802

 Redacted    28947      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    28949      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28950      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28951      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28960      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28961      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28964      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28965      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28969      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 643 of 802

 Redacted    28970      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    28971      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28975      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28976      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28977      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28980      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28981      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28982      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28985      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28989      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 644 of 802

 Redacted    28990      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28991      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28993      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28999      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29000      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29001      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29002      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    29003      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    29004      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    29005      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 645 of 802

 Redacted    29006      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29007      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29008      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29009      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29010      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29011      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29012      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29013      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29015      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29016      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29018      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29020      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29021      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29022      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29023      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.
Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 646 of 802

 Redacted    29024      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29026      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29027      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29028      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29029      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29030      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29032      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29033      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29034      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29035      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29036      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29038      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29039      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29040      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29041      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.
Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 647 of 802

 Redacted    29044      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29046      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29047      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29048      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29049      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29050      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29051      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29053      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29054      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29055      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29057      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29058      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29059      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29060      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29062      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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Case 22-19361-MBK           Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                  Document    Page 648 of 802

    Redacted        29063      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                              affected by this objection because those funds are not property of the estate; any
                                                              claims for funds you may have related to BIA or retail loan collateral are not
                                                              impacted by this objection.

    Redacted        29064      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                              affected by this objection because those funds are not property of the estate; any
                                                              claims for funds you may have related to BIA or retail loan collateral are not
                                                              impacted by this objection.

    Redacted        29065      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                              affected by this objection because those funds are not property of the estate; any
                                                              claims for funds you may have related to BIA or retail loan collateral are not
                                                              impacted by this objection.

    Redacted        29066      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                              affected by this objection because those funds are not property of the estate; any
                                                              claims for funds you may have related to BIA or retail loan collateral are not
                                                              impacted by this objection.

    Redacted        29067      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                              affected by this objection because those funds are not property of the estate; any
                                                              claims for funds you may have related to BIA or retail loan collateral are not
                                                              impacted by this objection.

    Redacted        29069      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                              affected by this objection because those funds are not property of the estate; any
                                                              claims for funds you may have related to BIA or retail loan collateral are not
                                                              impacted by this objection.

    Redacted        29070      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                              affected by this objection because those funds are not property of the estate; any
                                                              claims for funds you may have related to BIA or retail loan collateral are not
                                                              impacted by this objection.

    Redacted        29071      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                              affected by this objection because those funds are not property of the estate; any
                                                              claims for funds you may have related to BIA or retail loan collateral are not
                                                              impacted by this objection.

    Redacted        29072      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                              affected by this objection because those funds are not property of the estate; any
                                                              claims for funds you may have related to BIA or retail loan collateral are not
                                                              impacted by this objection.

    Redacted        29073      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                              affected by this objection because those funds are not property of the estate; any
                                                              claims for funds you may have related to BIA or retail loan collateral are not
                                                              impacted by this objection.

    Redacted        29074      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                              affected by this objection because those funds are not property of the estate; any
                                                              claims for funds you may have related to BIA or retail loan collateral are not
                                                              impacted by this objection.

    Redacted        29075      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                              affected by this objection because those funds are not property of the estate; any
                                                              claims for funds you may have related to BIA or retail loan collateral are not
                                                              impacted by this objection.

Ramson Investment   29076      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
     Group                                                    affected by this objection because those funds are not property of the estate; any
                                                              claims for funds you may have related to BIA or retail loan collateral are not
                                                              impacted by this objection.

    Redacted        29077      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                              affected by this objection because those funds are not property of the estate; any
                                                              claims for funds you may have related to BIA or retail loan collateral are not
                                                              impacted by this objection.

    Redacted        29078      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                              affected by this objection because those funds are not property of the estate; any
                                                              claims for funds you may have related to BIA or retail loan collateral are not
                                                              impacted by this objection.
Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 649 of 802

 Redacted    29079      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29080      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29081      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    29082      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    29083      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29084      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29085      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    29086      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29090      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    29091      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29092      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    29095      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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                                                       impacted by this objection.

 Redacted    29096      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29097      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29101      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 650 of 802

 Redacted    29102      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29103      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    29105      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29107      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    29109      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    29110      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    29111      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    29112      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29115      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    29116      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29117      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    29120      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29121      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29122      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29123      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Case 22-19361-MBK            Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                    Document    Page 651 of 802

     Redacted         29124      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

     Redacted         29125      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
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                                                                impacted by this objection.

     Redacted         29127      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
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     Redacted         29129      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                                claims for funds you may have related to BIA or retail loan collateral are not
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     Redacted         29130      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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     Redacted         29131      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                                impacted by this objection.

YGensurowsky RD LLC   29135      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

     Redacted         29137      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

     Redacted         29143      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                                claims for funds you may have related to BIA or retail loan collateral are not
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     Redacted         29144      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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     Redacted         29145      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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     Redacted         29151      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 652 of 802

 Redacted    29153      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    29154      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29155      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29159      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29160      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29162      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29166      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29170      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK          Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                 Document    Page 653 of 802

   Redacted        29176      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                             affected by this objection because those funds are not property of the estate; any
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   Redacted        29178      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted        29179      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted        29180      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted        29182      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted        29187      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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   Redacted        29198      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Five Duncans LLC   29199      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 654 of 802

 Redacted    29201      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    29204      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29205      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29206      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29208      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29209      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29210      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29212      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29219      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29220      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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  Case 22-19361-MBK              Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                       Document    Page 655 of 802

Equi Balanced Fund, LP   29221      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                   affected by this objection because those funds are not property of the estate; any
                                                                   claims for funds you may have related to BIA or retail loan collateral are not
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      Redacted           29222      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted           29225      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted           29234      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted           29235      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted           29240      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted           29241      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted           29243      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted           29246      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted           29247      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 656 of 802

 Redacted    29255      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    29256      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Case 22-19361-MBK               Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                       Document    Page 657 of 802

      Redacted           29288      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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      Redacted           29300      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                                   claims for funds you may have related to BIA or retail loan collateral are not
                                                                   impacted by this objection.

      Redacted           29301      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                   affected by this objection because those funds are not property of the estate; any
                                                                   claims for funds you may have related to BIA or retail loan collateral are not
                                                                   impacted by this objection.

Equi Real Estate Fund,   29303      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
          LP                                                       affected by this objection because those funds are not property of the estate; any
                                                                   claims for funds you may have related to BIA or retail loan collateral are not
                                                                   impacted by this objection.

      Redacted           29305      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                   affected by this objection because those funds are not property of the estate; any
                                                                   claims for funds you may have related to BIA or retail loan collateral are not
                                                                   impacted by this objection.

      Redacted           29307      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                   affected by this objection because those funds are not property of the estate; any
                                                                   claims for funds you may have related to BIA or retail loan collateral are not
                                                                   impacted by this objection.

      Redacted           29308      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                   affected by this objection because those funds are not property of the estate; any
                                                                   claims for funds you may have related to BIA or retail loan collateral are not
                                                                   impacted by this objection.

      Redacted           29309      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                   affected by this objection because those funds are not property of the estate; any
                                                                   claims for funds you may have related to BIA or retail loan collateral are not
                                                                   impacted by this objection.

      Redacted           29310      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                   affected by this objection because those funds are not property of the estate; any
                                                                   claims for funds you may have related to BIA or retail loan collateral are not
                                                                   impacted by this objection.

      Redacted           29311      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                   affected by this objection because those funds are not property of the estate; any
                                                                   claims for funds you may have related to BIA or retail loan collateral are not
                                                                   impacted by this objection.
Case 22-19361-MBK      Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                             Document    Page 658 of 802

 Redacted      29313      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                         affected by this objection because those funds are not property of the estate; any
                                                         claims for funds you may have related to BIA or retail loan collateral are not
                                                         impacted by this objection.

 Redacted      29316      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                         affected by this objection because those funds are not property of the estate; any
                                                         claims for funds you may have related to BIA or retail loan collateral are not
                                                         impacted by this objection.

 Redacted      29317      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                         affected by this objection because those funds are not property of the estate; any
                                                         claims for funds you may have related to BIA or retail loan collateral are not
                                                         impacted by this objection.

 Redacted      29318      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                         affected by this objection because those funds are not property of the estate; any
                                                         claims for funds you may have related to BIA or retail loan collateral are not
                                                         impacted by this objection.

 Redacted      29321      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                         affected by this objection because those funds are not property of the estate; any
                                                         claims for funds you may have related to BIA or retail loan collateral are not
                                                         impacted by this objection.

 Redacted      29322      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                         affected by this objection because those funds are not property of the estate; any
                                                         claims for funds you may have related to BIA or retail loan collateral are not
                                                         impacted by this objection.

 Redacted      29327      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                         affected by this objection because those funds are not property of the estate; any
                                                         claims for funds you may have related to BIA or retail loan collateral are not
                                                         impacted by this objection.

 Profits LLC   29328      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                         affected by this objection because those funds are not property of the estate; any
                                                         claims for funds you may have related to BIA or retail loan collateral are not
                                                         impacted by this objection.

 Redacted      29331      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                         affected by this objection because those funds are not property of the estate; any
                                                         claims for funds you may have related to BIA or retail loan collateral are not
                                                         impacted by this objection.

 Redacted      29335      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                         affected by this objection because those funds are not property of the estate; any
                                                         claims for funds you may have related to BIA or retail loan collateral are not
                                                         impacted by this objection.

 Redacted      29337      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                         affected by this objection because those funds are not property of the estate; any
                                                         claims for funds you may have related to BIA or retail loan collateral are not
                                                         impacted by this objection.

 Redacted      29338      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                         affected by this objection because those funds are not property of the estate; any
                                                         claims for funds you may have related to BIA or retail loan collateral are not
                                                         impacted by this objection.

 Redacted      29341      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                         affected by this objection because those funds are not property of the estate; any
                                                         claims for funds you may have related to BIA or retail loan collateral are not
                                                         impacted by this objection.

 Redacted      29342      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                         affected by this objection because those funds are not property of the estate; any
                                                         claims for funds you may have related to BIA or retail loan collateral are not
                                                         impacted by this objection.

 Redacted      29344      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                         affected by this objection because those funds are not property of the estate; any
                                                         claims for funds you may have related to BIA or retail loan collateral are not
                                                         impacted by this objection.
 Case 22-19361-MBK              Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                      Document    Page 659 of 802

     Redacted           29345      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
                                                                  claims for funds you may have related to BIA or retail loan collateral are not
                                                                  impacted by this objection.

     Redacted           29346      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
                                                                  claims for funds you may have related to BIA or retail loan collateral are not
                                                                  impacted by this objection.

     Redacted           29347      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
                                                                  claims for funds you may have related to BIA or retail loan collateral are not
                                                                  impacted by this objection.

     Redacted           29350      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
                                                                  claims for funds you may have related to BIA or retail loan collateral are not
                                                                  impacted by this objection.

     Redacted           29352      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
                                                                  claims for funds you may have related to BIA or retail loan collateral are not
                                                                  impacted by this objection.

     Redacted           29353      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
                                                                  claims for funds you may have related to BIA or retail loan collateral are not
                                                                  impacted by this objection.

Debt Pay Gateway, Inc   29354      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
                                                                  claims for funds you may have related to BIA or retail loan collateral are not
                                                                  impacted by this objection.

     Redacted           29357      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
                                                                  claims for funds you may have related to BIA or retail loan collateral are not
                                                                  impacted by this objection.

     Redacted           29358      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
                                                                  claims for funds you may have related to BIA or retail loan collateral are not
                                                                  impacted by this objection.

     Redacted           29361      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
                                                                  claims for funds you may have related to BIA or retail loan collateral are not
                                                                  impacted by this objection.

     Redacted           29363      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
                                                                  claims for funds you may have related to BIA or retail loan collateral are not
                                                                  impacted by this objection.

     Redacted           29367      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
                                                                  claims for funds you may have related to BIA or retail loan collateral are not
                                                                  impacted by this objection.

     Redacted           29369      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
                                                                  claims for funds you may have related to BIA or retail loan collateral are not
                                                                  impacted by this objection.

     Redacted           29370      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
                                                                  claims for funds you may have related to BIA or retail loan collateral are not
                                                                  impacted by this objection.

     Redacted           29375      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                  affected by this objection because those funds are not property of the estate; any
                                                                  claims for funds you may have related to BIA or retail loan collateral are not
                                                                  impacted by this objection.
Case 22-19361-MBK        Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                               Document    Page 660 of 802

  Redacted       29376      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                           affected by this objection because those funds are not property of the estate; any
                                                           claims for funds you may have related to BIA or retail loan collateral are not
                                                           impacted by this objection.

  Redacted       29377      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                           affected by this objection because those funds are not property of the estate; any
                                                           claims for funds you may have related to BIA or retail loan collateral are not
                                                           impacted by this objection.

  Redacted       29378      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                           affected by this objection because those funds are not property of the estate; any
                                                           claims for funds you may have related to BIA or retail loan collateral are not
                                                           impacted by this objection.

  Redacted       29379      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                           affected by this objection because those funds are not property of the estate; any
                                                           claims for funds you may have related to BIA or retail loan collateral are not
                                                           impacted by this objection.

  Redacted       29381      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                           affected by this objection because those funds are not property of the estate; any
                                                           claims for funds you may have related to BIA or retail loan collateral are not
                                                           impacted by this objection.

  Redacted       29382      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                           affected by this objection because those funds are not property of the estate; any
                                                           claims for funds you may have related to BIA or retail loan collateral are not
                                                           impacted by this objection.

  Redacted       29383      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                           affected by this objection because those funds are not property of the estate; any
                                                           claims for funds you may have related to BIA or retail loan collateral are not
                                                           impacted by this objection.

  Redacted       29384      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                           affected by this objection because those funds are not property of the estate; any
                                                           claims for funds you may have related to BIA or retail loan collateral are not
                                                           impacted by this objection.

  Redacted       29385      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                           affected by this objection because those funds are not property of the estate; any
                                                           claims for funds you may have related to BIA or retail loan collateral are not
                                                           impacted by this objection.

  Redacted       29386      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                           affected by this objection because those funds are not property of the estate; any
                                                           claims for funds you may have related to BIA or retail loan collateral are not
                                                           impacted by this objection.

  Redacted       29387      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                           affected by this objection because those funds are not property of the estate; any
                                                           claims for funds you may have related to BIA or retail loan collateral are not
                                                           impacted by this objection.

  Redacted       29388      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                           affected by this objection because those funds are not property of the estate; any
                                                           claims for funds you may have related to BIA or retail loan collateral are not
                                                           impacted by this objection.

  Redacted       29389      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                           affected by this objection because those funds are not property of the estate; any
                                                           claims for funds you may have related to BIA or retail loan collateral are not
                                                           impacted by this objection.

  Redacted       29391      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                           affected by this objection because those funds are not property of the estate; any
                                                           claims for funds you may have related to BIA or retail loan collateral are not
                                                           impacted by this objection.

 Project South   29392      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                           affected by this objection because those funds are not property of the estate; any
                                                           claims for funds you may have related to BIA or retail loan collateral are not
                                                           impacted by this objection.
 Case 22-19361-MBK             Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                     Document    Page 661 of 802

     Redacted          29403      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted          29404      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted          29418      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted          29423      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted          29425      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted          29429      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

NorWest Investments,   29430      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
        LLC                                                      affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted          29431      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted          29434      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted          29437      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted          29438      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted          29439      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted          29440      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted          29441      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
                                                                 impacted by this objection.

     Redacted          29443      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                 affected by this objection because those funds are not property of the estate; any
                                                                 claims for funds you may have related to BIA or retail loan collateral are not
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  Case 22-19361-MBK              Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                       Document    Page 662 of 802

      Redacted           29444      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                   affected by this objection because those funds are not property of the estate; any
                                                                   claims for funds you may have related to BIA or retail loan collateral are not
                                                                   impacted by this objection.

      Redacted           29446      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                   affected by this objection because those funds are not property of the estate; any
                                                                   claims for funds you may have related to BIA or retail loan collateral are not
                                                                   impacted by this objection.

      Redacted           29447      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                   affected by this objection because those funds are not property of the estate; any
                                                                   claims for funds you may have related to BIA or retail loan collateral are not
                                                                   impacted by this objection.

      Redacted           29448      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                   affected by this objection because those funds are not property of the estate; any
                                                                   claims for funds you may have related to BIA or retail loan collateral are not
                                                                   impacted by this objection.

      Redacted           29449      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                   affected by this objection because those funds are not property of the estate; any
                                                                   claims for funds you may have related to BIA or retail loan collateral are not
                                                                   impacted by this objection.

      Redacted           29450      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                   affected by this objection because those funds are not property of the estate; any
                                                                   claims for funds you may have related to BIA or retail loan collateral are not
                                                                   impacted by this objection.

      Redacted           29451      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                   affected by this objection because those funds are not property of the estate; any
                                                                   claims for funds you may have related to BIA or retail loan collateral are not
                                                                   impacted by this objection.

      Redacted           29452      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                   affected by this objection because those funds are not property of the estate; any
                                                                   claims for funds you may have related to BIA or retail loan collateral are not
                                                                   impacted by this objection.

      Redacted           29454      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                   affected by this objection because those funds are not property of the estate; any
                                                                   claims for funds you may have related to BIA or retail loan collateral are not
                                                                   impacted by this objection.

      Redacted           29455      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                   affected by this objection because those funds are not property of the estate; any
                                                                   claims for funds you may have related to BIA or retail loan collateral are not
                                                                   impacted by this objection.

      Redacted           29456      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                   affected by this objection because those funds are not property of the estate; any
                                                                   claims for funds you may have related to BIA or retail loan collateral are not
                                                                   impacted by this objection.

      Redacted           29457      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                   affected by this objection because those funds are not property of the estate; any
                                                                   claims for funds you may have related to BIA or retail loan collateral are not
                                                                   impacted by this objection.

      Redacted           29461      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                   affected by this objection because those funds are not property of the estate; any
                                                                   claims for funds you may have related to BIA or retail loan collateral are not
                                                                   impacted by this objection.

      Redacted           29463      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                   affected by this objection because those funds are not property of the estate; any
                                                                   claims for funds you may have related to BIA or retail loan collateral are not
                                                                   impacted by this objection.

      Traditional        29464      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
Development Group Inc.                                             affected by this objection because those funds are not property of the estate; any
                                                                   claims for funds you may have related to BIA or retail loan collateral are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 663 of 802

 Redacted    29465      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29466      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29468      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29472      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29473      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29474      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29475      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29476      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29477      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29479      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29487      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29488      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 664 of 802

 Redacted    29493      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29502      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29503      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 665 of 802

 Redacted    29513      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29514      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29515      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29516      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29520      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 666 of 802

 Redacted    29530      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 667 of 802

 Redacted    29550      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                           Document    Page 668 of 802

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                           Document    Page 669 of 802

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 Redacted    29614      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    29615      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK         Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                Document    Page 670 of 802

  Redacted        29618      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                            affected by this objection because those funds are not property of the estate; any
                                                            claims for funds you may have related to BIA or retail loan collateral are not
                                                            impacted by this objection.

  Redacted        29619      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                            affected by this objection because those funds are not property of the estate; any
                                                            claims for funds you may have related to BIA or retail loan collateral are not
                                                            impacted by this objection.

  Redacted        29620      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                            affected by this objection because those funds are not property of the estate; any
                                                            claims for funds you may have related to BIA or retail loan collateral are not
                                                            impacted by this objection.

  Redacted        29621      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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  Redacted        29622      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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  Redacted        29623      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                            impacted by this objection.

  Redacted        29625      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                            affected by this objection because those funds are not property of the estate; any
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  Redacted        29626      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                            affected by this objection because those funds are not property of the estate; any
                                                            claims for funds you may have related to BIA or retail loan collateral are not
                                                            impacted by this objection.

 United Web       29630      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
Technology, Inc                                             affected by this objection because those funds are not property of the estate; any
                                                            claims for funds you may have related to BIA or retail loan collateral are not
                                                            impacted by this objection.

  Redacted        29631      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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  Redacted        29633      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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  Redacted        29634      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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  Redacted        29635      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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  Redacted        29639      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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  Redacted        29640      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 671 of 802

 Redacted    29641      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    29644      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29645      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29647      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29648      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29649      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29650      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29654      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29655      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29656      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29657      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29659      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29661      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29662      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 672 of 802

 Redacted    29665      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29667      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29670      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29676      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29679      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29680      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29685      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29686      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29687      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29689      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29696      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    29698      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29700      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 673 of 802

 Redacted    29702      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    29703      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29704      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29705      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29706      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29707      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29708      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29709      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29710      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29713      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    29715      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29716      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29717      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    29718      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29719      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 674 of 802

 Redacted    29721      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    29722      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29723      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29726      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29728      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29730      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29732      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29733      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29734      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29735      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29737      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29739      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29741      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29743      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 675 of 802

 Redacted    29744      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    29746      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29765      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29771      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29772      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29773      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29774      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29775      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29776      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29777      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29783      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29785      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29787      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29788      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29790      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 676 of 802

 Redacted    29798      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29799      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    29801      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    29803      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29804      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29811      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29812      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29813      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29814      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29815      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29816      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29818      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    29831      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    29832      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    29834      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 677 of 802

 Redacted    29836      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    29838      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29843      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29846      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29849      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29850      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29851      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29852      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29853      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29855      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29858      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29860      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29861      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29862      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29865      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 678 of 802

 Redacted    29868      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    29872      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29875      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29876      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29877      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29880      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29883      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29885      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29887      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 679 of 802

 Redacted    29893      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29901      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29902      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29906      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29908      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29910      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29911      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29913      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29918      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29931      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29934      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29938      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 680 of 802

 Redacted    29943      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    29959      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29973      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    29975      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29976      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    29985      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29996      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29998      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    30013      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    30014      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    30016      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 681 of 802

 Redacted    30031      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    30032      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    30033      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    30034      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    30036      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    30039      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    30045      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    30046      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    30052      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    30054      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    30056      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    30057      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    30060      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    30062      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    30246      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 682 of 802

 Redacted    30262      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    30417      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    30435      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    30436      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    30437      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    30438      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    30439      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    30440      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    30443      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    30446      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    30450      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    30452      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    30453      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    30466      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 683 of 802

 Redacted    30470      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    30482      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    30484      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    30485      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30490      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    30495      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    30498      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    30499      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    30501      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    30503      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    30506      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    30507      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    30510      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    30512      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    30513      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 684 of 802

 Redacted    30515      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    30518      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    30519      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    30521      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    30525      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    30528      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    30529      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30531      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30532      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    30534      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    30535      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    30536      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    30538      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    30539      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    30541      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 685 of 802

 Redacted    30542      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30543      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30545      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30547      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30549      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30554      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30555      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30556      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30557      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30559      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30562      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30563      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    30565      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    30571      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    30574      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 686 of 802

 Redacted    30578      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    30596      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    30605      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30641      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    30650      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30665      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    30668      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30669      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    30670      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30671      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    30672      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30673      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    30678      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    30689      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    30698      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 687 of 802

 Redacted    30699      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30701      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    30702      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30704      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30705      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30709      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30710      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    30711      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30714      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30716      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30718      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    30723      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30724      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30725      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30726      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 688 of 802

 Redacted    30749      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    30750      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    30751      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30752      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30762      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    30765      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    30768      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    30769      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    30771      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30780      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    30781      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30782      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30785      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    30790      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 689 of 802

 Redacted    30792      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    30796      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    30797      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    30801      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    30815      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30816      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30817      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    30832      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30833      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    30834      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30835      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    30836      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30838      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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                                                       impacted by this objection.

 Redacted    30846      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    30847      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 690 of 802

 Redacted    30860      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30865      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30866      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30867      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30868      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30869      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30870      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30871      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30872      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30873      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30878      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    30883      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    30884      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30885      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    30886      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 691 of 802

 Redacted    30887      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    30891      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30895      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    30897      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    30899      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30904      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30914      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30915      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    30917      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    30918      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30919      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    30920      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30921      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30923      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    30924      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 692 of 802

 Redacted    30929      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30930      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    30934      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    30936      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    30937      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    30938      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    30942      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    30944      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    30947      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    30948      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    30959      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    30960      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    30961      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    30962      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    30963      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 693 of 802

 Redacted    30964      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    30967      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    30969      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    30973      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    30975      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    30976      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    30977      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    30978      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    30984      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    30987      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    30989      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    30991      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    30993      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Case 22-19361-MBK            Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                    Document    Page 694 of 802

     Redacted         30997      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

     Redacted         30999      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

     Redacted         31000      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

     Redacted         31003      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

     Redacted         31004      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
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     Redacted         31005      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

     Redacted         31009      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

     Redacted         31012      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
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     Redacted         31014      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
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     Redacted         31015      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

     Redacted         31020      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

     Redacted         31022      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

CryptoWranglers INC   31024      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

     Redacted         31026      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.

     Redacted         31030      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                affected by this objection because those funds are not property of the estate; any
                                                                claims for funds you may have related to BIA or retail loan collateral are not
                                                                impacted by this objection.
Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 695 of 802

 Redacted    31032      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31033      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31035      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31036      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31038      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31042      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31045      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31047      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31048      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31050      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31051      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31053      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31054      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31055      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31058      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 696 of 802

 Redacted    31059      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31061      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31063      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31067      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31069      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31072      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31076      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31077      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31079      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31080      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31082      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31084      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31086      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31088      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31090      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 697 of 802

 Redacted    31093      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31094      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31095      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31096      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31098      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31099      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31101      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31102      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31103      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31104      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31109      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31111      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31112      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31113      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31115      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 698 of 802

 Redacted    31119      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31120      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31121      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31122      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31123      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31124      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31125      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31126      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31127      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31128      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31129      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31131      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31132      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31133      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31134      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 699 of 802

 Redacted    31135      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31138      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31139      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31144      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31149      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31151      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    31153      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    31154      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    31155      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    31156      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    31159      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31160      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31162      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31165      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31167      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 700 of 802

 Redacted    31169      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31171      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31172      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    31174      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31176      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31183      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31186      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31187      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31194      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31195      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31196      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31198      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31199      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31203      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31221      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.
Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 701 of 802

 Redacted    31222      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31223      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31225      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31226      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31227      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31228      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31229      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31230      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31231      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31232      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31234      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31235      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31236      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31237      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    31239      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 702 of 802

 Redacted    31247      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31248      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31249      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31253      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31255      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31256      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31260      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31263      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31264      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31268      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31269      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31270      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31272      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31274      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31276      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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Case 22-19361-MBK           Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                  Document    Page 703 of 802

   Redacted         31277      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                              affected by this objection because those funds are not property of the estate; any
                                                              claims for funds you may have related to BIA or retail loan collateral are not
                                                              impacted by this objection.

   Redacted         31279      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                              affected by this objection because those funds are not property of the estate; any
                                                              claims for funds you may have related to BIA or retail loan collateral are not
                                                              impacted by this objection.

   Redacted         31282      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                              affected by this objection because those funds are not property of the estate; any
                                                              claims for funds you may have related to BIA or retail loan collateral are not
                                                              impacted by this objection.

   Redacted         31284      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                              affected by this objection because those funds are not property of the estate; any
                                                              claims for funds you may have related to BIA or retail loan collateral are not
                                                              impacted by this objection.

   Redacted         31285      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                              affected by this objection because those funds are not property of the estate; any
                                                              claims for funds you may have related to BIA or retail loan collateral are not
                                                              impacted by this objection.

   Redacted         31287      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                              affected by this objection because those funds are not property of the estate; any
                                                              claims for funds you may have related to BIA or retail loan collateral are not
                                                              impacted by this objection.

   Redacted         31290      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                              affected by this objection because those funds are not property of the estate; any
                                                              claims for funds you may have related to BIA or retail loan collateral are not
                                                              impacted by this objection.

   Redacted         31297      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                              affected by this objection because those funds are not property of the estate; any
                                                              claims for funds you may have related to BIA or retail loan collateral are not
                                                              impacted by this objection.

   Redacted         31298      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                              affected by this objection because those funds are not property of the estate; any
                                                              claims for funds you may have related to BIA or retail loan collateral are not
                                                              impacted by this objection.

   Redacted         31299      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                              affected by this objection because those funds are not property of the estate; any
                                                              claims for funds you may have related to BIA or retail loan collateral are not
                                                              impacted by this objection.

   Redacted         31302      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                              affected by this objection because those funds are not property of the estate; any
                                                              claims for funds you may have related to BIA or retail loan collateral are not
                                                              impacted by this objection.

   Redacted         31303      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                              affected by this objection because those funds are not property of the estate; any
                                                              claims for funds you may have related to BIA or retail loan collateral are not
                                                              impacted by this objection.

  Strader Home      31304      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
Investments, Inc.                                             affected by this objection because those funds are not property of the estate; any
                                                              claims for funds you may have related to BIA or retail loan collateral are not
                                                              impacted by this objection.

   Redacted         31305      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                              affected by this objection because those funds are not property of the estate; any
                                                              claims for funds you may have related to BIA or retail loan collateral are not
                                                              impacted by this objection.

   Redacted         31307      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 704 of 802

 Redacted    31308      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31309      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    31310      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    31311      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    31312      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    31314      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    31315      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    31317      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    31334      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    31373      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    31374      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31375      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    31376      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31377      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31379      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 705 of 802

 Redacted    31380      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    31381      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    31382      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    31386      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    31387      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31388      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    31389      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31390      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31391      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31392      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31393      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31394      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    31395      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31397      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31398      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 706 of 802

 Redacted    31399      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    31400      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    31401      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    31402      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    31403      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31404      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    31406      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    31407      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31408      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31409      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31411      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31412      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    31413      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    31416      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31424      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 707 of 802

 Redacted    31436      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31437      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    31438      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31439      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    31440      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31442      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31445      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    31447      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    31451      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    31452      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    31454      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31455      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31460      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    31462      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    31463      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 708 of 802

 Redacted    31474      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    31475      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    31486      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31487      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31488      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31489      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31490      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31491      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31492      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31493      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31494      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31495      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    31504      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    31507      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31509      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 709 of 802

 Redacted    31510      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    31512      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    31513      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    31516      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    31517      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31518      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    31520      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    31521      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    31522      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31523      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    31524      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31526      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31527      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31528      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    31529      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 710 of 802

 Redacted    31530      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31531      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    31533      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31540      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31543      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31552      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31553      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    31555      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31556      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31557      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    31563      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    31572      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    31577      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31579      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31585      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 711 of 802

 Redacted    31586      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    31587      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31588      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31589      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31590      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31596      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31599      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31616      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31617      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31618      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31619      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31623      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 712 of 802

 Redacted    31625      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    31626      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31627      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31628      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31629      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31641      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31645      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31657      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31658      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31659      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31660      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31661      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31664      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 713 of 802

 Redacted    31666      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31667      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 714 of 802

 Redacted    31718      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 715 of 802

 Redacted    31770      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31818      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 716 of 802

 Redacted    31821      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 717 of 802

 Redacted    31860      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 718 of 802

 Redacted    31877      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 719 of 802

 Redacted    31896      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    31906      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31907      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31908      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31909      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31911      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31912      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 720 of 802

 Redacted    31913      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31914      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31916      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31917      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    31918      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31919      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31920      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31921      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31923      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    31925      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    31926      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31927      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31928      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31929      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31930      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 721 of 802

 Redacted    31931      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31932      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    31933      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31934      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31936      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31938      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31939      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    31942      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    31949      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    31955      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31961      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32010      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32012      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32014      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32015      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 722 of 802

 Redacted    32016      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32017      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32018      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32027      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32028      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32029      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32031      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32032      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32034      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32036      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32045      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32046      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32047      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32050      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32055      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 723 of 802

 Redacted    32059      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32065      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32066      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32067      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32071      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32073      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32074      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32076      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32077      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32080      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32082      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32083      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32084      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32086      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32088      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 724 of 802

 Redacted    32099      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32100      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32102      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32103      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32104      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32105      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32107      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32109      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32111      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32113      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32116      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32117      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32118      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32120      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32122      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 725 of 802

 Redacted    32123      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32124      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32125      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32126      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32127      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32128      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32132      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32133      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32135      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32151      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32152      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32153      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32154      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32155      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32165      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 726 of 802

 Redacted    32166      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32168      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32169      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32170      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32171      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32173      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32174      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32175      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32176      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32177      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32184      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32185      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32186      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32190      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32191      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 727 of 802

 Redacted    32192      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32193      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32194      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32202      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32203      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32204      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32205      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32206      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32207      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32208      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32210      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32212      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32213      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32214      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32215      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 728 of 802

 Redacted    32216      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32219      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32221      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32222      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32241      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32246      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32251      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32252      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32253      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32274      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32275      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32279      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32281      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32285      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 729 of 802

 Redacted    32286      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32292      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32293      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32294      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32295      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32296      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32297      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32299      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32301      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32304      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32306      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32307      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32309      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32311      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32312      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 730 of 802

 Redacted    32314      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32315      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32316      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32317      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32318      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32319      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32320      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32326      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32327      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32330      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32339      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32340      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32341      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32344      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32345      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 731 of 802

 Redacted    32360      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32362      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32363      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32364      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32366      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32367      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32368      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32369      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32370      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32372      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32375      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32395      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32397      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32398      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32399      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 732 of 802

 Redacted    32404      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32405      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32410      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32411      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32414      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32415      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32417      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32418      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32419      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32420      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32421      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32422      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32423      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32425      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32428      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 733 of 802

 Redacted    32431      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32434      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32438      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32439      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32440      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32441      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32442      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32443      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32444      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32445      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32446      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32461      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32462      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32465      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32473      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 734 of 802

 Redacted    32475      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32477      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32478      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32479      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32480      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32481      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32483      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32485      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32486      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32488      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32491      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32495      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32497      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32498      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32501      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 735 of 802

 Redacted    32536      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32540      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32541      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32542      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32560      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32561      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32576      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32582      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32584      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32593      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32595      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32597      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32606      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32607      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32609      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 736 of 802

 Redacted    32610      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32611      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32620      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32621      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32622      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32629      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32647      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32651      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32652      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32653      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32665      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32666      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32667      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32668      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32669      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 737 of 802

 Redacted    32671      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32672      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32674      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32675      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32677      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32678      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32679      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32680      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32681      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32683      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32684      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32685      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32690      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32691      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32692      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 738 of 802

 Redacted    32701      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32704      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32705      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32717      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32718      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32719      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32721      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32723      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32724      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32741      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32742      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32743      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32744      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32745      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32746      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 739 of 802

 Redacted    32749      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32751      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32759      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32760      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32762      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32764      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32765      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32766      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32768      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32771      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32774      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32775      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32786      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32789      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32790      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 740 of 802

 Redacted    32791      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32802      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32803      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32807      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32813      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32828      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32838      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32841      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32848      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32849      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32850      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32851      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32852      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32853      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32855      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 741 of 802

 Redacted    32857      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32859      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32861      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32884      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32885      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32887      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32888      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32890      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32891      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32894      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32895      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32896      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 742 of 802

 Redacted    32899      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    32900      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32901      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32902      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32903      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32904      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32906      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32924      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32926      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32928      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32929      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32930      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32932      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32933      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32934      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 743 of 802

 Redacted    32936      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32937      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32944      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32946      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32952      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32955      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32960      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32970      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32979      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32983      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    32985      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32987      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32990      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    32994      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 744 of 802

 Redacted    32995      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    33004      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    33005      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    33020      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    33021      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    33024      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    33025      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    33028      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    33030      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    33031      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    33032      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    33034      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    33045      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.
Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 745 of 802

 Redacted    33046      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    33047      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    33048      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    33049      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    33058      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    33059      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    33064      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    33067      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    33068      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    33076      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    33077      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    33094      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    33099      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    33113      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    33114      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 746 of 802

 Redacted    33115      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    33116      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    33118      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    33119      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    33127      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    33136      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    33138      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    33142      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    33145      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    33146      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    33151      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    33154      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    33159      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    33160      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    33165      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 747 of 802

 Redacted    33169      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    33171      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    33174      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    33275      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    33277      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    33285      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    33300      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    33301      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    33303      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    33330      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    33331      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    33332      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    33333      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    33334      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    33337      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 748 of 802

 Redacted    33338      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    33339      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    33354      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    33366      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    33368      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    33379      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    33380      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    33388      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    33390      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    33396      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    33400      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    33401      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    33402      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    33411      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    33412      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 749 of 802

 Redacted    33414      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    33415      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    33427      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    33438      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    33440      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    33442      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    33448      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    33461      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    33465      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    33469      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    33470      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    33472      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    33475      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    33490      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    33491      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 750 of 802

 Redacted    33492      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    33494      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    33500      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    33505      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    33506      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    33508      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    33509      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    33510      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    33511      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    33515      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    33529      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    33535      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    33543      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    33555      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    33559      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.
Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 751 of 802

 Redacted    1056      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    1283      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    1411      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    1642      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    1917      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    2098      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    2173      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    2185      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    2380      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    2418      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    2443      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    2448      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    2494      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    2569      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    2705      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 752 of 802

 Redacted    2833      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    2941      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    3186      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    3227      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    3329      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    3375      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    3397      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    3398      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    3400      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    3402      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    3410      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    3421      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    3426      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    3428      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    3430      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 753 of 802

 Redacted    3435      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    3437      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    3438      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    3441      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    3454      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    3456      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    3468      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    3470      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    3474      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    3480      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    3487      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    3489      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    3490      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    3500      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    3523      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 754 of 802

 Redacted    3529      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    3538      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    3545      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    3547      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    3559      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    3583      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    3584      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    3598      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    3615      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    3620      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    3629      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    3633      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    3663      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    3671      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    3673      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 755 of 802

 Redacted    3679      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    3684      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    3687      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    3700      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    3702      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    3706      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    3710      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    3713      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    3717      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    3720      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    3723      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    3732      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    3763      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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                                                      impacted by this objection.

 Redacted    3768      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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                                                      impacted by this objection.

 Redacted    3777      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 756 of 802

 Redacted    3779      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    3791      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    3800      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    3802      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    3811      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    3829      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    3859      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    3860      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    3871      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    3874      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    3904      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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                                                      impacted by this objection.

 Redacted    3960      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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                                                      impacted by this objection.

 Redacted    3975      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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 Redacted    3994      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                      impacted by this objection.

 Redacted    4030      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 757 of 802

 Redacted    4053      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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 Redacted    4067      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4076      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4120      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4122      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4138      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    4154      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4180      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4198      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4228      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4251      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4324      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4399      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4463      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4503      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 758 of 802

 Redacted    4528      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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 Redacted    4529      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4550      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4648      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4689      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    4729      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    4758      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    4821      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    4827      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    4834      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    4841      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    4949      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    4991      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    5021      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5042      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 759 of 802

 Redacted    5044      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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 Redacted    5063      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5067      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5073      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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 Redacted    5111      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5134      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    5214      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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 Redacted    5217      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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 Redacted    5222      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5224      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5286      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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 Redacted    5322      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5392      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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 Redacted    5434      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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 Redacted    5464      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 760 of 802

 Redacted    5466      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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 Redacted    5537      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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 Redacted    5558      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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 Redacted    5606      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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 Redacted    5615      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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 Redacted    5758      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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 Redacted    5784      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    5803      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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 Redacted    5830      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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 Redacted    5838      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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 Redacted    5844      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5857      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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 Redacted    5875      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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 Redacted    5877      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    5898      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 761 of 802

 Redacted    5900      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    6113      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    6181      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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 Redacted    6186      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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 Redacted    6189      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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 Redacted    6217      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    6292      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    6320      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    6328      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    6373      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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 Redacted    6405      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    6599      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    6623      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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 Redacted    6625      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    6634      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK            Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                   Document    Page 762 of 802

    Redacted          6688      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

    Redacted          6709      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
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                                                               impacted by this objection.

    Redacted          6750      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
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                                                               impacted by this objection.

    Redacted          6824      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

Precision Paving of   6838      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
   Tampa, Inc.                                                 affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

    Redacted          6851      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

    Redacted          6855      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
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                                                               impacted by this objection.

    Redacted          7029      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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    Redacted          7065      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
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                                                               impacted by this objection.

    Redacted          7068      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

    Redacted          7074      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
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    Redacted          7100      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

    Redacted          7116      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
                                                               claims for funds you may have related to BIA or retail loan collateral are not
                                                               impacted by this objection.

    Redacted          7137      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                               affected by this objection because those funds are not property of the estate; any
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    Redacted          7171      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 763 of 802

 Redacted    7200      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    7238      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    7267      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    7272      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    7289      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    7340      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    7356      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    7358      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    7359      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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 Redacted    7424      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    7485      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    7495      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    7515      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    7518      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    7522      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 764 of 802

 Redacted     7545      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted     7572      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted     7585      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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  Twith Llc   7615      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted     7660      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted     7700      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted     7752      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted     7778      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted     7780      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted     7782      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted     7784      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted     7814      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted     7862      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted     7867      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted     7880      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 765 of 802

 Redacted    8018      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    8027      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    8056      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    8133      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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 Redacted    8143      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    8172      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    8185      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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 Redacted    8201      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    8203      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    8271      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8277      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8356      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    8365      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8390      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8471      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 766 of 802

 Redacted    8496      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    8505      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8557      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    8616      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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 Redacted    8617      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8629      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    8645      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8705      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8737      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8742      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8771      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8818      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    8998      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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 Redacted    9024      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
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 Redacted    9054      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 767 of 802

 Redacted    9063      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    9125      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9140      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9193      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9196      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9224      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9327      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9369      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9394      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9413      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9430      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9465      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9485      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9514      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9561      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 768 of 802

 Redacted    9566       BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9645       BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9652       BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9800       BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9916       BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9923       BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9927       BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9975       BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    9994       BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10026      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    10029      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10101      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    10141      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    10183      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    10282      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 769 of 802

 Redacted    10283      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    10290      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10340      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10343      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    10409      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10452      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    10533      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    10557      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    10570      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    10580      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    10589      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    10613      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    10669      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    10716      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    10863      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 770 of 802

 Redacted    10890      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    10911      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    10956      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    10959      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10965      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    10968      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    10974      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    10975      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    10978      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10979      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    10980      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    11125      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    11152      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    11381      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    11441      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 771 of 802

 Redacted    11496      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    11507      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    11549      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    11562      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    11566      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    11568      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    11575      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    11589      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    11591      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    11623      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    11639      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    11669      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    11677      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    11680      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    11685      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 772 of 802

 Redacted    11735      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    11742      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    11764      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    11770      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12029      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12083      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12091      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12109      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12166      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12235      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12256      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12272      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12309      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12315      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12627      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 773 of 802

 Redacted    12644      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12700      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    12708      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12709      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12714      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    12727      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    12759      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12793      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12847      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    12871      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    12893      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    12977      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    13047      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    13055      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13056      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 774 of 802

 Redacted    13060      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    13063      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    13088      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    13116      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    13133      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    13148      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    13160      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    13166      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    13190      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    13246      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    13277      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    13279      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    13284      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    13333      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    13374      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 775 of 802

 Redacted    13381      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    13395      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    13396      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    13424      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    13427      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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                                                       impacted by this objection.

  RBz LLC    13454      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    13455      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    13474      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    13481      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    13484      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13499      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    13719      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    13721      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    13737      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13803      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 776 of 802

 Redacted    13830      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    13837      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13838      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13874      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13888      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13892      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13896      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13897      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13947      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13958      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13959      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13980      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    13998      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14009      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14069      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 777 of 802

 Redacted    14080      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14090      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14098      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14141      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14145      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14175      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14216      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14260      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14267      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14352      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14383      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14393      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14423      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14435      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14450      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 778 of 802

 Redacted    14451      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    14461      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14529      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14536      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14576      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14612      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14646      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14685      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14716      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14925      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14941      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14977      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14988      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    14993      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15014      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 779 of 802

 Redacted    15071      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    15093      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15130      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15136      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15141      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15151      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15158      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15161      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15168      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15172      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15187      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15194      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15197      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15209      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15267      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 780 of 802

 Redacted    15282      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    15286      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15291      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15294      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15313      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15314      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15319      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15322      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15341      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15359      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15365      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15407      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15409      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15445      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15464      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 781 of 802

 Redacted    15465      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15515      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15517      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15525      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15537      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15572      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15573      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15579      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15605      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15621      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15624      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15625      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    15652      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15665      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15697      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.
Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 782 of 802

 Redacted    15698      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15706      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15711      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15714      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15715      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15737      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15803      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15807      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15809      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15812      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15822      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15835      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15859      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    15881      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    18392      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 783 of 802

 Redacted    18394      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    18749      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    18908      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    18938      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    19009      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    19034      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    19037      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    19044      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    19722      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    21334      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    24730      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    25674      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    25727      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    25741      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    25755      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 784 of 802

 Redacted    25798      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    25801      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    25817      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    25823      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    25836      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    25844      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    25909      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    25954      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    26021      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    26022      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    26025      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    26026      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    26029      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    26038      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    26124      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 785 of 802

 Redacted    26127      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    26179      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    26180      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    26233      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    26264      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    26272      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    26287      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    26322      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    26331      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    26350      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    26370      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    26400      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    26414      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    26422      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    26428      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 786 of 802

 Redacted    26453      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    26463      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    26473      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    26477      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    26481      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    26488      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    26492      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    26505      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    26526      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    26530      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    26601      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    26712      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    26722      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    26759      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    26764      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 787 of 802

 Redacted    26802      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    26804      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    26827      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    26864      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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                                                       impacted by this objection.

 Redacted    26940      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    26971      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    26974      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    26979      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    26984      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    26995      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    26998      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    27058      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    27101      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    27114      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    27133      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 788 of 802

 Redacted    27146      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    27257      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    27368      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    27369      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    27404      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    27447      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    27543      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    27553      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    27557      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    27561      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    27575      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    27638      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    27648      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    27676      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    27730      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 789 of 802

 Redacted    27742      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    27745      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    27768      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    27800      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    27804      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    27808      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    27836      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    27859      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    27886      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    27889      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    27942      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    27951      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    27998      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28029      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28041      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 790 of 802

 Redacted    28079      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28089      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28156      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28178      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28211      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28220      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28297      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    28308      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28328      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28345      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28347      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28349      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28371      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28416      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28442      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 791 of 802

 Redacted    28451      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    28452      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    28487      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28494      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    28542      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    28564      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28575      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    28581      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    28599      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    28600      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28608      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28634      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    28697      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    28699      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    28726      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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Case 22-19361-MBK         Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                Document    Page 792 of 802

   Redacted       28742      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                            affected by this objection because those funds are not property of the estate; any
                                                            claims for funds you may have related to BIA or retail loan collateral are not
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   Redacted       28759      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                            affected by this objection because those funds are not property of the estate; any
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   Redacted       28764      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                            affected by this objection because those funds are not property of the estate; any
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   Redacted       28784      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                            affected by this objection because those funds are not property of the estate; any
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   Redacted       28845      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                            affected by this objection because those funds are not property of the estate; any
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   Redacted       28848      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                            affected by this objection because those funds are not property of the estate; any
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   Redacted       28885      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                            affected by this objection because those funds are not property of the estate; any
                                                            claims for funds you may have related to BIA or retail loan collateral are not
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   Redacted       28910      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                            affected by this objection because those funds are not property of the estate; any
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   Redacted       28912      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                            affected by this objection because those funds are not property of the estate; any
                                                            claims for funds you may have related to BIA or retail loan collateral are not
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   Redacted       28919      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                            affected by this objection because those funds are not property of the estate; any
                                                            claims for funds you may have related to BIA or retail loan collateral are not
                                                            impacted by this objection.

 SSrefresh, LLC   28941      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                            affected by this objection because those funds are not property of the estate; any
                                                            claims for funds you may have related to BIA or retail loan collateral are not
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   Redacted       29019      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                            affected by this objection because those funds are not property of the estate; any
                                                            claims for funds you may have related to BIA or retail loan collateral are not
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   Redacted       29025      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                            affected by this objection because those funds are not property of the estate; any
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   Redacted       29056      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                            affected by this objection because those funds are not property of the estate; any
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   Redacted       29068      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 793 of 802

 Redacted    29141      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    29150      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    29152      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    29158      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    29174      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    29200      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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 Redacted    29223      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    29228      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29238      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    29268      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    29270      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    29334      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    29336      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    29339      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29355      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 794 of 802

 Redacted    29359      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    29364      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
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 Redacted    29366      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
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 Redacted    29540      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29562      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29572      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29574      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29646      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29688      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29724      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29753      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29786      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29833      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29857      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    29899      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.
Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 795 of 802

 Redacted    30024      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    30055      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    30442      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    30486      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    30979      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31037      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31039      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31158      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31508      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31514      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31538      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31806      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31834      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31836      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31935      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.
Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 796 of 802

 Redacted    31966      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31984      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    31986      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32011      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32033      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32085      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32089      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32129      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32138      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32217      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32288      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32298      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32361      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32365      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32393      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 797 of 802

 Redacted    32396      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32424      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32426      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32437      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32482      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32487      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32499      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32500      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32515      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32549      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32550      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32552      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32557      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32558      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32564      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.
Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 798 of 802

 Redacted    32579      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32585      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32608      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32616      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32617      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32627      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32628      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32631      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32648      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32649      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32650      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32687      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32688      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32700      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32720      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 799 of 802

 Redacted    32750      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32763      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32772      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32773      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32776      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32787      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32797      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32798      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32804      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32836      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32886      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32889      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32916      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32918      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32925      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
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Case 22-19361-MBK    Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                           Document    Page 800 of 802

 Redacted    32931      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32935      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32949      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32959      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32968      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    32997      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    33003      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    33035      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    33096      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    33101      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    33112      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    33140      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    33153      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    33263      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.

 Redacted    33273      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                       affected by this objection because those funds are not property of the estate; any
                                                       claims for funds you may have related to BIA or retail loan collateral are not
                                                       impacted by this objection.
  Case 22-19361-MBK               Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                                        Document    Page 801 of 802

      Redacted            33302      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                    affected by this objection because those funds are not property of the estate; any
                                                                    claims for funds you may have related to BIA or retail loan collateral are not
                                                                    impacted by this objection.

      Redacted            33311      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                    affected by this objection because those funds are not property of the estate; any
                                                                    claims for funds you may have related to BIA or retail loan collateral are not
                                                                    impacted by this objection.

      Redacted            33437      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                    affected by this objection because those funds are not property of the estate; any
                                                                    claims for funds you may have related to BIA or retail loan collateral are not
                                                                    impacted by this objection.

      Redacted            33460      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                    affected by this objection because those funds are not property of the estate; any
                                                                    claims for funds you may have related to BIA or retail loan collateral are not
                                                                    impacted by this objection.

      Redacted            33488      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                    affected by this objection because those funds are not property of the estate; any
                                                                    claims for funds you may have related to BIA or retail loan collateral are not
                                                                    impacted by this objection.

      Redacted            33489      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                    affected by this objection because those funds are not property of the estate; any
                                                                    claims for funds you may have related to BIA or retail loan collateral are not
                                                                    impacted by this objection.

      Redacted            33560      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                    affected by this objection because those funds are not property of the estate; any
                                                                    claims for funds you may have related to BIA or retail loan collateral are not
                                                                    impacted by this objection.

        Air Gas           3263       BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                    affected by this objection because those funds are not property of the estate; any
                                                                    claims for funds you may have related to BIA or retail loan collateral are not
                                                                    impacted by this objection.

   3Dwtechnology          7389       BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                    affected by this objection because those funds are not property of the estate; any
                                                                    claims for funds you may have related to BIA or retail loan collateral are not
                                                                    impacted by this objection.

   Gilley Enterprises     11442      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                    affected by this objection because those funds are not property of the estate; any
                                                                    claims for funds you may have related to BIA or retail loan collateral are not
                                                                    impacted by this objection.

      Redacted            14041      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                                    affected by this objection because those funds are not property of the estate; any
                                                                    claims for funds you may have related to BIA or retail loan collateral are not
                                                                    impacted by this objection.

 TR 13 Acres Preston      14072      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
      Road, LLC                                                     affected by this objection because those funds are not property of the estate; any
                                                                    claims for funds you may have related to BIA or retail loan collateral are not
                                                                    impacted by this objection.

SBC Product Solutions     28261      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
        LLC                                                         affected by this objection because those funds are not property of the estate; any
                                                                    claims for funds you may have related to BIA or retail loan collateral are not
                                                                    impacted by this objection.

   Class Crditor as       28310      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
 described in Adv Pr:                                               affected by this objection because those funds are not property of the estate; any
Mangano v Block Fi etal                                             claims for funds you may have related to BIA or retail loan collateral are not
                                                                    impacted by this objection.

Seattle Meowtropolitan    28384      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
          Inc                                                       affected by this objection because those funds are not property of the estate; any
                                                                    claims for funds you may have related to BIA or retail loan collateral are not
                                                                    impacted by this objection.
Case 22-19361-MBK   Doc 2056 Filed 01/18/24 Entered 01/18/24 13:53:58                                              Desc Main
                          Document    Page 802 of 802

 Redacted    1209      BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.

 Redacted    638       BlockFi Wallet LLC   Expunge   Wallet balances are already available for withdrawal at BlockFi.com and are not
                                                      affected by this objection because those funds are not property of the estate; any
                                                      claims for funds you may have related to BIA or retail loan collateral are not
                                                      impacted by this objection.
